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                         Exhibit A

                        Time Entries
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quinn emanuel trial lawyers
865 S. Figueroa Street, 10th Floor
Los Angeles, California 90017




                                                                    August 28, 2024



John Ray III
Chief Executive Officer
Unit #3B, Bryson's Commercial Complex
Friars Hill Road
St. John's Antigua

Matter #: 11807-00001
Invoice Number: 101-0000175601
Responsible Attorney: Sascha Rand



                                                                      FTX Trading


For Professional Services through July 31, 2024 in connection with role as special litigation counsel for FTX
Trading Ltd. and its Affiliated Debtors.


                                                                            Fees                                                                    $883,919.70
                                                                     Expenses                                                                          $167.01
                                                               Net Amount                                                                           $884,086.71
                                               Total Due This Invoice                                                                               $884,086.71




Confidential – May include attorney-client privileged and work-product information

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                                                                   Statement Detail

01 Asset Analysis and Recovery


07/01/24          APA                    Attend team meeting (0.5).                                                                           0.50      780.75

07/01/24          JY1                    Standing team meeting (.5).                                                                          0.50      625.50

07/01/24          SH6                    QE leadership team status conference                                                                 0.50      537.75
                                         (0.5).

07/01/24          TCM                    Standing QE team call (.5).                                                                          0.50      648.00

07/01/24          SNR                    T/c w/ client re: various strategic                                                                  1.30     2,182.05
                                         issues (0.7); attend team strategy
                                         meeting (0.5); follow up re: same
                                         (0.1).

07/01/24          JK1                    Standing team meeting (0.5).                                                                         0.50      648.00

07/01/24          MRS                    Attending internal team call (0.5).                                                                  0.50      711.00

07/01/24          OBY                    Team call (.5).                                                                                      0.50      537.75

07/01/24          JP                     Team call to discuss case status (0.5).                                                              0.50      623.25

07/01/24          KL                     Standing team call (.5).                                                                             0.50      839.25

07/01/24          AK2                    Review and analyze communications                                                                    0.60      777.60
                                         re: upcoming team meeting (.1);
                                         attend same (.5).

07/01/24          AM0                    Team meeting regarding adversary                                                                     0.50      625.50
                                         proceedings and case status (0.5).

07/15/24          SS7                    Team status and strategy meeting                                                                     0.40      394.20
                                         with S. Rand, W. Sears, and others
                                         (0.4).

07/15/24          APA                    Attend team meeting regarding                                                                        0.40      624.60
                                         status and tasks (0.4).

07/15/24          JY1                    Standing team meeting (.4).                                                                          0.40      500.40

07/15/24          SH6                    QE team leadership conference (0.4).                                                                 0.40      430.20

07/15/24          SNR                    Attend team strategy meeting (0.4).                                                                  0.40      671.40

07/15/24          TCM                    QE team call (.4).                                                                                   0.40      518.40

07/15/24          OBY                    Team call (.4).                                                                                      0.40      430.20

07/15/24          JK1                    Standing team meeting (0.4).                                                                         0.40      518.40

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07/15/24          MRS                    Attending team call (0.4).                                                                           0.40      568.80

07/15/24          AK2                    Correspond with S. Rand re:                                                                          0.70      907.20
                                         upcoming internal team meeting (.1);
                                         prepare for same (.2); attend same
                                         (.4).

07/15/24          JP                     Team call to discuss case updates                                                                    0.40      498.60
                                         (0.4).

07/15/24          EK                     Team conference regarding case                                                                       0.40      541.80
                                         status and update (0.4).

07/15/24          KL                     Standing QE team call (.4).                                                                          0.40      671.40

07/15/24          WS1                    Standing call with QE team re:                                                                       0.40      541.80
                                         investigations and litigation (.4).

07/17/24          JP                     Review and analyze Silvergate Bank                                                                   0.80      997.20
                                         privilege log and correspondence
                                         with Silvergate Bank regarding same
                                         (0.4); review and analyze Signature
                                         Bank privilege log and
                                         correspondence with FDIC regarding
                                         same (0.4).

07/17/24          APA                    Emails to and from J. Palmerson                                                                      0.10      156.15
                                         regarding Signature and Silvergate
                                         privilege logs in connection with
                                         Rule 2004 document productions
                                         (0.1).

07/18/24          KL                     Prep for call with Company F re Rule                                                                 0.50      839.25
                                         2004 request (.1); call with Company
                                         F, O. Yeffet re FTX payments to
                                         Company F (.2); review documents re
                                         Company F payments (.2).

07/18/24          OBY                    Call with counsel for Company F on                                                                   1.00     1,075.50
                                         Company F Rule 2004 request (.2);
                                         prepare follow up materials on same
                                         and send to K. Lemire (.8).

07/23/24          APA                    Emails to and from J. Palmerson                                                                      0.10      156.15
                                         regarding withdrawal of Rule 2004
                                         motion (0.1).

07/23/24          JP                     Review motion to withdraw Rule                                                                       0.20      249.30
                                         2004 motion and correspondence
                                         with Landis and A. Alden regarding
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                                         same (0.2).

07/25/24          OBY                    Follow up email to counsel for                                                                       0.10       107.55
                                         Company F regarding Company F
                                         Rule 2004 request (.1).

07/26/24          OBY                    Call with counsel for Company F and                                                                  0.90       967.95
                                         K. Lemire on Company F Rule 2004
                                         request (.1); prepare follow up details
                                         on Company F transfers and send
                                         email to K. Lemire on same (.8).

07/26/24          KL                     TC counsel for Company F and O.                                                                      0.20       335.70
                                         Yeffet re amounts to be returned (.1);
                                         review draft email to counsel with
                                         Company F payments backup data
                                         (.1).

07/29/24          APA                    Analyze e-mail from the FDIC's                                                                       0.10       156.15
                                         counsel regarding Signature Bank
                                         privilege log and email to J.
                                         Palmerson regarding same (0.1).

07/29/24          AK2                    Correspond with S. Rand re:                                                                          0.10       129.60
                                         upcoming team meeting (.1).

07/31/24          AK2                    Correspond with S. Rand re:                                                                          0.10       129.60
                                         upcoming team meeting (.1).

                                                                                  SUBTOTAL                                                  17.00      22,653.90

02 Avoidance Action Analysis


07/09/24          IN                     Draft memorandum re venture book                                                                     0.50       760.50
                                         investigation (0.5).

07/09/24          SNR                    Review materials and t/c re: Venture                                                                 0.60      1,007.10
                                         Book Target 5 (0.6).

07/09/24          AK2                    Review and analyze communications                                                                    0.10       129.60
                                         re: memorandum on results of
                                         Venture Book analyses and next steps
                                         re: same (.1).

07/10/24          AK2                    Correspond with I. Nesser re:                                                                        0.10       129.60
                                         upcoming call re: status of Venture
                                         Book analyses and memorandum re:
                                         same (.1).

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07/11/24          AK2                    Correspond with M.Scheck re: status                                                                  0.20       259.20
                                         of Venture Book analyses (.2).

07/12/24          SNR                    Review venture book materials re:                                                                    2.30      3,860.55
                                         Venture Book Target 5 and Venture
                                         Book Target 7 claims and other
                                         potential claims (2.3).

07/12/24          AK2                    Correspond with S. Rand and I.                                                                       0.20       259.20
                                         Nesser re: memorandum re: status of
                                         venture book analysis (.1);
                                         correspond with I. Nesser re:
                                         upcoming call re: status of Venture
                                         Book analyses (.1).

07/24/24          SNR                    Analysis re Venture Book Target 5                                                                    1.40      2,349.90
                                         investigation and other venture book
                                         strategy issues (1.4).

07/30/24          AK2                    Determine next steps re: Venture                                                                     0.40       518.40
                                         Book Target 10 (.3); correspond with
                                         S. Rand and I. Nesser re: same (.1).

07/31/24          AK2                    Determine next steps re: Venture                                                                     1.80      2,332.80
                                         Book Target 10 (.2); correspond with
                                         I. Nesser and M. Scheck re: upcoming
                                         call re: same (.1); conduct research re:
                                         same (1.5).

                                                                                  SUBTOTAL                                                    7.60     11,606.85

03 Bankruptcy Litigation


07/08/24          EK                     Correspond with solvency expert re                                                                   0.10       135.45
                                         analysis relating to Law Firm 1
                                         investigation (0.1).

07/09/24          EK                     Conference with solvency expert                                                                      0.30       406.35
                                         team re updated analysis (0.2);
                                         correspond with QE investigations
                                         team re same (0.1).

07/09/24          AM0                    Prepare for and attend meeting with                                                                  0.80      1,000.80
                                         Alix Partners (0.8).

07/14/24          SNR                    Review and analyze materials re:                                                                     0.80      1,342.80
                                         customer property and assess
                                         arguments re: same (0.8).

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07/15/24          JR9                    Correspondence with O. Yeffet re:                                                                    0.40      356.40
                                         Law Firm 1 complaint (.4).

07/15/24          SNR                    Review and analyze materials re:                                                                     1.30     2,182.05
                                         customer property and assess
                                         arguments re: same (1.3).

07/16/24          JR9                    Correspondence with O. Yeffet re:                                                                    0.80      712.80
                                         Law Firm 1 complaint (.8).

07/16/24          SNR                    Review and analyze materials re:                                                                     2.40     4,028.40
                                         customer property and assess
                                         arguments re: same (2.4).

07/16/24          EK                     Correspond with A. Makhijani re                                                                      0.30      406.35
                                         solvency expert analysis for
                                         upcoming report and solvency expert
                                         requests in connection with
                                         investigations work (0.3).

07/16/24          AM0                    Meet with Alix Partners regarding                                                                    1.10     1,376.10
                                         solvency issues (1.1).

07/17/24          OBY                    Emails with E. Kapur on insolvency                                                                   0.10      107.55
                                         (.1).

07/17/24          EK                     Correspond with O. Yeffet and A.                                                                     0.40      541.80
                                         Makhijani re solvency analysis (0.4).

07/17/24          APA                    Review and analyze emails from O.                                                                    0.20      312.30
                                         Yeffet, A. Makhijani and E. Kapur
                                         regarding insolvency (0.2).

07/18/24          APA                    Review and revise Law Firm 31                                                                        0.50      780.75
                                         memorandum (0.2); review and
                                         revise Law Firm 13 memorandum
                                         (0.3).

07/18/24          SH6                    Correspondence with A. Alden re:                                                                     1.80     1,935.90
                                         Employee 2 complaint revisions (0.8);
                                         correspondence with B. Ferguson re:
                                         Employee 2 complaint revisions (0.4);
                                         correspondence with A. Makhijani re:
                                         Employee 2 complaint analysis (0.5);
                                         correspondence with A. Alden and
                                         M. Scheck re: Employee 2 complaint
                                         revisions (0.1).

07/18/24          APA                    Emails to and from S. Hill and J.                                                                    0.30      468.45
                                         Young regarding draft complaints
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                                         (0.3).

07/18/24          JY1                    Correspondence with A. Alden et al                                                                   0.40      500.40
                                         regarding insolvency issues for
                                         Advisor 6 and Advisor 7 complaints
                                         (.4).

07/18/24          BF5                    Corresponded with S. Hill re:                                                                        0.10       79.20
                                         revisions to Employee 2 complaint
                                         (0.1).

07/18/24          AM0                    Analysis of solvency of various FTX                                                                  2.90     3,627.90
                                         entities (1.8); update insolvency
                                         allegations in complaints to conform
                                         with analysis (1.1).

07/19/24          SH6                    Correspondence with A. Makhijani                                                                     0.90      967.95
                                         re: Employee 2 complaint analysis
                                         (0.6); correspondence with B.
                                         Ferguson re: Employee 2 complaint
                                         revisions (0.3).

07/19/24          SNR                    Review and analyze materials re:                                                                     1.70     2,853.45
                                         customer property and assess
                                         arguments re: same and various
                                         follow up re: same (1.7).

07/19/24          SH6                    Correspondence with A. Makhijani                                                                     0.80      860.40
                                         re: Employee 2 complaint analysis
                                         (0.6); correspondence with B.
                                         Ferguson re: Employee 2 complaint
                                         revisions (0.2).

07/19/24          BF5                    Reviewed and revised Employee 2                                                                      0.50      396.00
                                         complaint (0.5).

07/19/24          AM0                    Analysis of solvency of various FTX                                                                  4.20     5,254.20
                                         entities (3.7); meet with solvency
                                         expert regarding solvency analysis
                                         (0.5).

07/22/24          SH6                    Correspondence with A. Alden and                                                                     0.10      107.55
                                         M. Scheck re: Employee 2 draft
                                         complaint revisions (0.1).

07/23/24          SH6                    Internal correspondence and                                                                          0.40      430.20
                                         coordination with M. Scheck and A.
                                         Alden re: Employee 2 complaint
                                         topics (0.4).

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07/23/24          AM0                    Meet with Alix Partners regarding                                                                    3.70     4,628.70
                                         solvency analysis (0.7); review and
                                         revise Employee 2 complaint (1.7);
                                         analysis of solvency of various FTX
                                         entities (1.3).

07/23/24          EK                     Correspond and confer with A.                                                                        0.30      406.35
                                         Makhijani re solvency expert strategy
                                         (0.3).

07/24/24          APA                    Emails to and from O. Yeffet and I.                                                                  0.40      624.60
                                         Saidel-Goley regarding Law Firm 1
                                         complaint (0.1); emails to and from J.
                                         Young regarding Advisor 6 and
                                         Advisor 7 complaints (0.1);
                                         teleconference with M. Scheck and S.
                                         Hill regarding Employee 2 complaint
                                         (0.2).

07/24/24          SH6                    Internal correspondence and                                                                          0.60      645.30
                                         coordination with M. Scheck and A.
                                         Alden re: Employee 2 complaint and
                                         claims (0.2); conference with M.
                                         Scheck and A. Alden re: Employee 2
                                         complaint and claims (0.2); internal
                                         correspondence and coordination
                                         with A. Makhijani re: Employee 2
                                         complaint and claims (0.2).

07/24/24          SNR                    Review and analyze materials re:                                                                     1.90     3,189.15
                                         Law Firm 1 and Advisor 6 and
                                         Advisor 7 complaints and address
                                         strategy issues re: same (1.6); various
                                         communications re: same (0.3).

07/24/24          MRS                    Call with S. Hill and A. Alden re                                                                    0.20      284.40
                                         Employee 2 claims and complaint
                                         (0.2).

07/25/24          APA                    Teleconference with O. Yeffet, I.                                                                    0.50      780.75
                                         Saidel-Goley and B. Carroll regarding
                                         Law Firm 1 complaint (0.5).

07/25/24          SH6                    Internal correspondence and                                                                          0.20      215.10
                                         coordination with A. Makhijani re:
                                         Employee 2 complaint and claims
                                         (0.2).

07/25/24          ISG                    Call with A. Alden, O. Yeffet, and B.                                                                6.40     7,747.20
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                                         Carroll regarding Law Firm 1
                                         investigation memorandum and
                                         complaint (0.5); review and revise
                                         Law Firm 1 complaint (5.6); call with
                                         B. Carroll on same (0.3).

07/25/24          SNR                    Review and analyze materials re:                                                                     4.60     7,721.10
                                         customer property arguments and
                                         address strategy re: same (3.4);
                                         various communications and review
                                         materials re: solvency analyses (1.2).

07/25/24          OBY                    Call with A. Alden, I. Saidel-Goley,                                                                 0.50      537.75
                                         and B. Carroll on updates to draft
                                         Law Firm 1 complaint (.5).

07/25/24          BC6                    Call with A. Alden, O. Yeffet, and I.                                                                2.80     2,494.80
                                         Saidel-Goley re: updating Law Firm 1
                                         complaint (.5); call with I. Saidel-
                                         Goley re Law Firm 1 complaint
                                         workstream (.3); review and analyze
                                         Law Firm 1 investigation memos to
                                         add to complaint (2.0).

07/25/24          AM0                    Analysis of solvency of various FTX                                                                  3.20     4,003.20
                                         entities (3.2).

07/26/24          SH6                    Internal correspondence and                                                                          1.70     1,828.35
                                         coordination with A. Makhijani re:
                                         Employee 2 complaint and claims
                                         (0.8); follow-up research re:
                                         Employee 2 complaint topics
                                         concerning specific debtor entity
                                         (0.9).

07/26/24          JY1                    Correspondence with A. Makhijani                                                                     1.70     2,126.70
                                         regarding insolvency issues for
                                         Advisor 6 and Advisor 7 complaints
                                         (.2); review and analyze materials
                                         related to insolvency issues (1.5).

07/26/24          AM0                    Analysis of solvency of various FTX                                                                  4.20     5,254.20
                                         entities (3.9); meet with solvency
                                         experts re: same (0.3).

07/26/24          BC6                    Correspond with I. Saidel-Goley re                                                                   0.20      178.20
                                         Law Firm 1 complaint workflow (.2).

07/26/24          ISG                    Draft, review, and revise Law Firm 1                                                                 6.20     7,505.10
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                                         complaint (6.2).

07/27/24          AM0                    Review and revise Employee 2                                                                         5.70     7,130.70
                                         complaint (2.9); review and revise
                                         Advisor 7 complaint (2.8).

07/28/24          AM0                    Analysis of solvency of various FTX                                                                  4.90     6,129.90
                                         entities (2.8); review and revise
                                         Advisor 6 complaint (2.1).

07/29/24          SH6                    Internal correspondence and                                                                          1.20     1,290.60
                                         coordination with M. Scheck and A.
                                         Alden re: Employee 2 complaint and
                                         claims (0.1); internal correspondence
                                         and coordination with A. Makhijani
                                         re: revisions to Employee 2 complaint
                                         (0.3); review revisions to Employee 2
                                         complaint (0.5); correspondence with
                                         A. Alden re: same (0.3).

07/29/24          BC6                    Review and revise Law Firm 1                                                                         2.60     2,316.60
                                         complaint (2.6).

07/29/24          SNR                    Review and analyze customer                                                                          2.40     4,028.40
                                         property arguments and review and
                                         analyze related materials (2.4).

07/29/24          JY1                    Review and revise Advisor 6                                                                          0.90     1,125.90
                                         complaint (.6); correspondence with
                                         A. Makhijani regarding Advisor 7
                                         complaint (.3).

07/29/24          ISG                    Draft, review, and revise Law Firm 1                                                                 6.40     7,747.20
                                         complaint (6.4).

07/30/24          BC6                    Review and revise Law Firm 1                                                                         6.50     5,791.50
                                         complaint (5.0); confer with I. Saidel-
                                         Goley re Law Firm 1 complaint,
                                         claims memo, and fact memo (1.5).

07/30/24          AM0                    Meet with solvency expert regarding                                                                  2.70     3,377.70
                                         insolvency issues (0.4); meet with
                                         Alix Partners team regarding
                                         solvency issues (0.4); analysis of
                                         solvency of FTX US (1.5); correspond
                                         with J. Young regarding solvency
                                         issues (0.2); correspond with B.
                                         Carroll regarding solvency issues
                                         (0.2).
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07/30/24          ISG                    Draft, review, and revise Law Firm 1                                                                 6.90       8,352.45
                                         complaint (5.4); confer with B. Carroll
                                         regarding Law Firm 1 complaint
                                         strategy and drafting (1.5).

07/31/24          JY1                    Correspondence with A. Makhijani                                                                     1.90       2,376.90
                                         regarding insolvency issues for
                                         Advisor 7 complaint (.4); review and
                                         revise Advisor 7 complaint (1.5).

07/31/24          SNR                    Analyze strategy re: customer                                                                        1.60       2,685.60
                                         property and solvency issues (1.6).

07/31/24          ISG                    Draft, review, and revise Law Firm 1                                                                 5.90       7,141.95
                                         complaint (5.9).

                                                                                  SUBTOTAL                                                112.50       140,837.85

04 Board/Corporate Governance


07/02/24          MRS                    Attending steering committee call                                                                    0.60        853.20
                                         (0.6).

07/02/24          SNR                    Attend steering committee call                                                                       0.40        671.40
                                         (partial) and follow up re: same (0.4).

07/09/24          SNR                    Attend steering committee call                                                                       1.10       1,846.35
                                         (partial) (0.7); attend Board call (0.4).

07/09/24          MRS                    Attending steering committee call                                                                    1.20       1,706.40
                                         (0.8); attending board call (0.4).

07/16/24          SNR                    Attend steering committee call and                                                                   0.70       1,174.95
                                         follow up re: same re: MDL (0.7).

07/23/24          SNR                    Attend steering committee call                                                                       1.10       1,846.35
                                         (partial) (0.6); attend Board call (0.5).

07/23/24          MRS                    Attending steering committee call,                                                                   1.10       1,564.20
                                         partial (0.7); attending board call,
                                         partial (0.4).

07/30/24          SNR                    Attend Steering Committee call and                                                                   0.60       1,007.10
                                         follow up re: same (0.6).

07/30/24          MRS                    Attending steering committee call                                                                    0.60        853.20
                                         (0.6).

                                                                                  SUBTOTAL                                                    7.40      11,523.15


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06 Employment and Fee Applications


07/01/24          MRS                    Call with J. Palmerson regarding May                                                                 0.10      142.20
                                         Monthly Fee Statement (0.1).

07/01/24          JP                     Conference call with M. Scheck                                                                       0.30      373.95
                                         regarding revisions to May 2024 bill
                                         in preparation for monthly fee
                                         statement filing (0.1); revisions to
                                         May 2024 bill in preparation for
                                         monthly fee statement filing (0.2).

07/05/24          JP                     Review and revise May 2024 bill for                                                                  4.00     4,986.00
                                         confidentiality in preparation for
                                         monthly fee statement filing (2.0);
                                         draft, review, revise, and finalize
                                         monthly fee statement for May 2024
                                         (2.0).

07/08/24          JP                     Finalize and transmit monthly fee                                                                    0.40      498.60
                                         statement, LEDES file, and code
                                         names chart to Fee Examiner and U.S.
                                         Trustee for May 2024 fee statement
                                         (0.4).

07/09/24          JP                     Review and revise June 2024 bill for                                                                 0.90     1,121.85
                                         compliance with guidelines in
                                         preparation for monthly fee
                                         statement filing (0.9).

07/09/24          MRS                    Internal correspondence with S. Rand                                                                 0.60      853.20
                                         and J. Palmerson regarding Fee
                                         Examiner request, and
                                         correspondence with J. Ray regarding
                                         the same (0.6).

07/10/24          JP                     Review and revise June 2024 bill for                                                                 0.70      872.55
                                         compliance with guidelines in
                                         preparation for monthly fee
                                         statement filing (0.7).

07/11/24          SH6                    Conference with M. Scheck and J.                                                                     0.50      537.75
                                         Palmerson re: fee examiner request
                                         (partial) (0.2); follow-up
                                         correspondence with M. Scheck and
                                         J. Palmerson re: same (0.3).

07/11/24          MRS                    Call with J. Palmerson and S. Hill                                                                   0.50      711.00
                                         (partial) regarding Fee Examiner
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                                         request for materials (0.3); call with
                                         A. Kranzley regarding the same (0.2).

07/11/24          JP                     Conference call with M. Scheck and                                                                   1.00     1,246.50
                                         S. Hill (partial) regarding discussions
                                         with Fee Examiner regarding Quinn
                                         Emanuel work product (0.3); review
                                         and revise June 2024 bill for
                                         compliance with guidelines in
                                         preparation for monthly fee
                                         statement filing (0.7).

07/12/24          SH6                    Prepare notes for M. Scheck on                                                                       0.60      645.30
                                         investigations and Examiner Report
                                         for M. Scheck to prepare for call with
                                         Fee Examiner (0.4); internal
                                         correspondence with M. Scheck re:
                                         same (0.2).

07/12/24          JP                     Conference call with M. Scheck to                                                                    3.10     3,864.15
                                         prepare for call with Fee Examiner
                                         (0.6); review and revise June 2024 bill
                                         for compliance with guidelines and
                                         confidentiality in preparation for
                                         monthly fee statement filing (2.5).

07/12/24          MRS                    Call with J. Palmerson regarding Fee                                                                 1.00     1,422.00
                                         Examiner inquiry (0.6); call with M.
                                         Hancock re Fee Examiner request
                                         related to presentation to Examiner
                                         (0.3); internal correspondence to S.
                                         Rand regarding the same (0.1).

07/13/24          JP                     Review and revise June 2024 bill for                                                                 1.00     1,246.50
                                         confidentiality in preparation for
                                         monthly fee statement filing (1.0).

07/15/24          MRS                    Drafting correspondence to client                                                                    0.30      426.60
                                         regarding Fee Examiner inquiry (0.1);
                                         conferring internally with J.
                                         Palmerson regarding the same (0.2).

07/15/24          JP                     Review and revise June 2024 bill for                                                                 2.50     3,116.25
                                         confidentiality, privilege, and
                                         compliance with guidelines in
                                         preparation for monthly fee
                                         statement filing (2.0); internal
                                         correspondence and coordination

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                                         with M. Scheck regarding response to
                                         Fee Examiner regarding investigation
                                         materials (0.3); conference call with
                                         M. Scheck to discuss same (0.2).

07/16/24          SH6                    Correspondence with J. Palmerson re:                                                                 0.10      107.55
                                         clarifying investigation team's June
                                         billing entries (0.1).

07/16/24          JP                     Review and revise June 2024 bill for                                                                 2.90     3,614.85
                                         confidentiality, privilege, and
                                         compliance with guidelines in
                                         preparation for monthly fee
                                         statement filing (2.1); draft monthly
                                         fee statement for June 2024 (0.2);
                                         input data from May 2024 fee
                                         statement into seventh interim fee
                                         application (0.6).

07/17/24          JP                     Review and revise June 2024 bill for                                                                 0.50      623.25
                                         confidentiality, privilege, and
                                         compliance with guidelines in
                                         preparation for monthly fee
                                         statement filing (0.5).

07/23/24          SNR                    T/c to address fee examiner issue w/                                                                 0.30      503.55
                                         S&C and M. Scheck (0.3).

07/23/24          MRS                    Call with A. Kranzley, S. Ehrenberg,                                                                 0.30      426.60
                                         and S. Rand regarding Fee Examiner
                                         inquiry (0.3).

07/24/24          JP                     Review and revise June 2024 bill for                                                                 2.50     3,116.25
                                         confidentiality in preparation for
                                         monthly fee statement filing (2.5).

07/25/24          JP                     Correspondence with billing staff                                                                    0.10      124.65
                                         regarding revisions to June 2024 bill
                                         in preparation for monthly fee
                                         statement filing (0.1).

07/26/24          JP                     Draft June 2024 fee statement (0.6);                                                                 0.70      872.55
                                         review and analyze e-mail from U.S.
                                         Trustee regarding sixth interim fee
                                         application (0.1).

07/30/24          JP                     Review, revise, and finalize June 2024                                                               0.70      872.55
                                         fee statement and accompanying
                                         exhibits (0.7).
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07/31/24          JP                     Finalize June 2024 fee statement for                                                                 0.40       498.60
                                         filing (0.4).

                                                                                  SUBTOTAL                                                  26.00      32,824.80

08 Investigation


07/01/24          APA                    Review and revise draft of omnibus                                                                   1.60      2,498.40
                                         investigations report on in house
                                         counsel, employee settlements and
                                         vendors (1.6).

07/01/24          JY1                    Correspondence with S. Hill                                                                          0.30       375.30
                                         regarding bank investigations
                                         memorandum status (.3).

07/01/24          SH6                    Review and revise Law Firm 3                                                                         6.50      6,990.75
                                         investigations memo (0.5); internal
                                         correspondence and coordination
                                         with E. Turner re: same (0.2); updates
                                         to professionals memo tracker (0.4);
                                         correspondence with A. Alden and T.
                                         Murray re: professional investigation
                                         memos workflow and status (0.4);
                                         correspondence with S. Snower re:
                                         professional investigation memos
                                         workflow and status (0.2);
                                         correspondence with A. Alden and J.
                                         Young re: Advisor 1, Bank 2, and
                                         Bank 3 investigation memos (0.1);
                                         correspondence with Investigator
                                         and M. Anderson, A. Kutscher, and
                                         O. Yeffet re: insider data (0.4);
                                         analyze insider data (2.9); internal
                                         correspondence with M. Xu re: status
                                         of Advisor 16, Law Firm 3, Law Firm
                                         11, Law Firm 34, Law Firm 37, and
                                         Professional 6 investigation memos
                                         (0.1); correspondence with A. Alden
                                         and J. Young re: Advisor 1
                                         investigations memo (0.1);
                                         correspondence with A. Alden re:
                                         Law Firm 31 investigations memo
                                         (0.1); correspondence with E. Turner
                                         and S. Snower re: Law Firm 31
                                         investigations memo (0.4); review
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                                         and revise Law Firm 37
                                         investigations memo (0.7).

07/01/24          TCM                    Review and analysis of latest                                                                        1.00     1,296.00
                                         professionals' investigation memos
                                         status chart and emails with A. Alden
                                         and S. Hill re. same (.2); emails with
                                         Law Firm K and S. Snower, and S.
                                         Snower separately, re. return of
                                         retainer funds (.2); review and
                                         analysis of insider documents (.6).

07/01/24          OBY                    Review and revise Law Firm 1 claims                                                                  5.00     5,377.50
                                         investigation memo (5.0).

07/01/24          KL                     Review and revise interview memo                                                                     0.30      503.55
                                         of Employee 16 (.2); emails with T.
                                         Murray re Insider 1 claims (.1).

07/01/24          SS7                    Draft correspondence to T. Murray                                                                    0.10       98.55
                                         regarding Law Firm K (0.1).

07/01/24          AK2                    Analyze communications re: insider                                                                   0.20      259.20
                                         data sources, status of same, and next
                                         steps re: same (.2).

07/02/24          APA                    Review and analyze email from Law                                                                    0.10      156.15
                                         Firm C regarding documents
                                         produced (0.1).

07/02/24          APA                    Review and revise Law Firm 3                                                                         1.70     2,654.55
                                         investigations memorandum (0.7);
                                         review and revise Law Firm 31
                                         investigations memorandum (0.6);
                                         review and revise Advisor 1
                                         investigations memorandum (0.4).

07/02/24          SH6                    Correspondence with J. Abrams re:                                                                    8.40     9,034.20
                                         insider data review (0.4); internal
                                         correspondence and coordination
                                         with J. Abrams re: same (0.6); review
                                         and revise omnibus investigations
                                         report (0.8); follow-up fact research
                                         re: same (0.7); internal
                                         correspondence and coordination
                                         with J. Young re: same (0.3); internal
                                         correspondence and coordination
                                         with A. Alden re: same (0.2); review
                                         and revise Law Firm 3 investigation
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                                         memo (0.4); internal correspondence
                                         and coordination with E. Turner re:
                                         same (0.3); internal correspondence
                                         and coordination with A. Alden re:
                                         same (0.2); internal correspondence
                                         with S. Snower re: Law Firm K
                                         demand letter (0.2); internal
                                         correspondence with M. Xu re: status
                                         of Advisor 16, Law Firm 3, Law Firm
                                         11, Law Firm 34, Law Firm 37, and
                                         Professional 6 investigation memos
                                         (0.2); internal correspondence with A.
                                         Alden and T. Murray re:
                                         professionals investigation memo
                                         workflow (0.4); conference with T.
                                         Murray re: professionals
                                         investigation memo workflow (0.1);
                                         correspondence with investigator and
                                         M. Anderson, A. Kutscher, and O.
                                         Yeffet re: insider document review
                                         (0.2); correspondence with K.
                                         Whitfield re: same (0.1);
                                         correspondence with S. Snower re:
                                         demand for return of Law Firm K
                                         retainer (0.2); review and revise Law
                                         Firm 13 investigations memo (2.4);
                                         internal correspondence with
                                         coordination with B. Ledvora re:
                                         same (0.3); internal correspondence
                                         with A. Alden and S. Snower re: Law
                                         Firm 31 investigation memo (0.4).

07/02/24          SS7                    Emails and call with T. Murray re.                                                                   0.20      197.10
                                         email correspondence with Law Firm
                                         K re. retainer (.1); call with T. Murray
                                         regarding particular investigations
                                         memorandum status (0.1).

07/02/24          JH8                    Draft investigatory memorandum re:                                                                   3.00     2,376.00
                                         Professional 6 (3.0).

07/02/24          TCM                    Review and analysis of latest draft of                                                               0.60      777.60
                                         Law Firm 3 investigation memo (.2);
                                         emails and call with S. Snower re.
                                         email correspondence with Law Firm
                                         K re. retainer (.1); emails with A.
                                         Alden and S. Hill re. status of
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                                         particular professionals' investigation
                                         memos (.1); call with S. Snower re.
                                         status of particular professionals'
                                         investigation memos (.1); call with S.
                                         Hill re. status of particular
                                         professionals' investigation memos
                                         (.1).

07/02/24          MX1                    Correspondence with J. Hill re: draft                                                                0.30      336.15
                                         investigation memo on Professional 6
                                         (0.3).

07/02/24          ET3                    Review and revise Law Firm 3                                                                         0.90      801.90
                                         investigations memo (0.9).

07/02/24          JP                     Correspondence with Law Firm C                                                                       0.10      124.65
                                         regarding follow-up document
                                         requests (0.1).

07/02/24          BL5                    Revise memo re: results of                                                                           0.30      295.65
                                         investigation into Law Firm 13 (0.3).

07/02/24          AK2                    Analyze communications re: insider                                                                   0.10      129.60
                                         data sources, status of same, and next
                                         steps re: same (.1).

07/03/24          APA                    Review and analyze letter from Law                                                                   0.10      156.15
                                         Firm A (0.1).

07/03/24          JY1                    Review and revise Advisor 1                                                                          2.50     3,127.50
                                         investigation memorandum and
                                         review related documents in
                                         connection with same (2.5).

07/03/24          SH6                    Updates to professional investigation                                                                9.00     9,679.50
                                         memos tracker (0.3); correspondence
                                         with M. Xu re: Professional 6 and
                                         Law Firm 11 investigation memos
                                         status (0.2); correspondence with J.
                                         Hill re: Law Firm 11 investigation
                                         memo topics (0.5); correspondence
                                         with J. Hill and M. Xu re: Law Firm
                                         11 investigation memo revisions (0.2);
                                         correspondence with Law Firm A
                                         and T. Murray re: Debtors’ trust
                                         assets (0.1); analyze Law Firm A
                                         letter re: Debtors’ trust assets (0.2);
                                         internal correspondence and
                                         coordination with T. Murray re: same
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                                         (0.1); correspondence with FFP and T.
                                         Murray re: Debtors’ trust assets (0.3);
                                         correspondence with J. Young re:
                                         Advisor 1 investigations memo (0.2);
                                         correspondence with A. Alden and S.
                                         Rand re: Advisor 1 investigations
                                         memo (0.1); correspondence with K.
                                         Lemire re: in-house counsel
                                         (Employee 16, Employee 17,
                                         Employee 18, Employee 20) interview
                                         memos (0.3); review and revise
                                         Advisor 16 investigations memo (3.1);
                                         follow-up fact investigation re:
                                         Advisor 16 topics (1.3); internal
                                         correspondence with B. Ledvora re:
                                         Law Firm 13 investigations memo
                                         (0.8); follow-up fact research re: same
                                         (0.7); correspondence with J.
                                         Palmerson re: Law Firm C
                                         supplemental production (0.3);
                                         correspondence with J. Hill re: Law
                                         Firm C supplemental production
                                         (0.3).

07/03/24          ET3                    Review and revise Law Firm 3                                                                         1.20     1,069.20
                                         investigation memo and analysis of
                                         documents in connection with same
                                         (1.2).

07/03/24          JH8                    Draft correspondence regarding                                                                       6.40     5,068.80
                                         foreign legal advice in connection
                                         with Law Firm 11 investigation (1.0);
                                         draft Professional 6 investigatory
                                         memorandum (3.4); draft Law Firm
                                         11 investigatory memorandum (2.0).

07/03/24          TR3                    Review and revise memo re:                                                                           2.50     1,361.25
                                         professionals investigation of
                                         Advisor 1 (2.5).

07/03/24          TCM                    Review of correspondence from Law                                                                    0.30      388.80
                                         Firm A re. trust assets and emails
                                         with S. Hill, A. Alden, and FFP re.
                                         same (.3).

07/03/24          BL5                    Revise memo re: results of                                                                           6.90     6,799.95
                                         investigation of Law Firm 13 (6.9).

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07/03/24          KL                     Review and revise interview memo                                                                     0.80     1,342.80
                                         of Employee 16 (.8).

07/03/24          JP                     Review document production from                                                                      0.40      498.60
                                         Law Firm C and correspondence with
                                         Law Firm C and S. Hill regarding
                                         same (0.4).

07/04/24          APA                    Review and revise Advisor 42 and                                                                     4.40     6,870.60
                                         Advisor 43 investigation
                                         memorandum (0.5); review and
                                         revise Law Firm 3 investigation
                                         memorandum (0.2); emails to and
                                         from S. Snower regarding Law Firm
                                         31 documents in connection with
                                         Law Firm 31 investigation (0.1);
                                         review and revise omnibus
                                         investigations report on in house
                                         counsel, employee settlements and
                                         banks (0.7); review and revise Bank 3
                                         investigation memorandum (0.5);
                                         review and analyze Advisor 1
                                         investigation memorandum and
                                         email to J. Young regarding same
                                         (0.2); review and revise Law Firm 1
                                         claims investigation memorandum
                                         (2.2).

07/04/24          JY1                    Review and revise Advisor 1                                                                          0.40      500.40
                                         investigation memorandum and
                                         correspondence with A. Alden
                                         regarding same (.4).

07/04/24          KL                     Review and revise presentation re                                                                    2.30     3,860.55
                                         Insider 2 investigation (2.3).

07/04/24          MX1                    Review and revise draft investigation                                                                2.60     2,913.30
                                         memo on Professional 6 (2.3);
                                         correspondence with J. Hill re: same
                                         (0.2); correspondence with A. Alden
                                         re: same (0.1).

07/04/24          SH6                    Correspondence with K. Lemire re:                                                                    0.10      107.55
                                         Insider 2 investigation presentation
                                         (0.1).

07/05/24          APA                    Review and revise Law Firm 1 claims                                                                  3.00     4,684.50
                                         investigation memorandum (2.9);

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                                         emails to and from O. Yeffet
                                         regarding same (0.1).

07/05/24          TCM                    Emails with K. Lemire re. status of                                                                  0.60      777.60
                                         Insider 2 investigation ppt and
                                         review and analysis of same (.4);
                                         review and analysis of Insider 6
                                         information re. campaign finance
                                         fraud allegations (.2).

07/05/24          KL                     Review and analyze insider                                                                           1.90     3,189.15
                                         documents and related materials (.9);
                                         correspondence with T. Murray re
                                         Insider 2 investigation powerpoint
                                         (.1); tc S. Hill re Insider 2
                                         investigation powerpoint (.7); review
                                         and revise powerpoint re Insider 2
                                         claims (.2).

07/05/24          JA4                    Review and analysis of insider                                                                       3.20     2,851.20
                                         documents for purposes of
                                         supplementing professional and
                                         insider investigations (3.2).

07/05/24          SH6                    Conference with K. Lemire re: Insider                                                                5.50     5,915.25
                                         2 investigation presentation (0.7);
                                         review and revise Law Firm 11
                                         investigations memo (2.1); internal
                                         correspondence and coordination
                                         with J. Abrams re: insider data
                                         review (0.4); review and revise
                                         Insider 2 investigation presentation
                                         (0.6); review and revise Advisor 16
                                         investigations memo (1.7).

07/06/24          JF3                    Review and analyze insider                                                                           0.20      158.40
                                         documents for purposes of
                                         supplementing professional and
                                         insider investigations (0.2).

07/07/24          JA4                    Review and analysis of insider                                                                       2.90     2,583.90
                                         documents for purposes of
                                         supplementing insider and
                                         professional investigations (2.9).

07/08/24          JY1                    Review and revise Bank 3                                                                             3.30     4,128.30
                                         investigation memorandum and
                                         omnibus investigations report (2.4);

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                                         correspondence with A&M regarding
                                         Bank 3 data and review and analysis
                                         of related materials (.9).

07/08/24          JH8                    Draft correspondence regarding                                                                       1.30      1,029.60
                                         foreign legal advice in connection
                                         with Law Firm 11 investigation (1.2);
                                         review and revise Professional 6
                                         investigation memo (.1).

07/08/24          SH6                    Follow-up fact research re: Insider 2                                                              11.20      12,045.60
                                         investigation (0.4); follow-up fact
                                         research re: Law Firm 13
                                         investigation memo (0.4);
                                         correspondence with B. Ledvora re:
                                         same (0.2); review and revise
                                         omnibus investigations report (0.2);
                                         correspondence with J. Young re:
                                         same (0.1); updates to professional
                                         investigation memo tracker (0.4);
                                         review and revise Law Firm 11
                                         investigations memo (3.1);
                                         correspondence with A. Alden re:
                                         Law Firm 11 investigations memo
                                         and foreign law analysis and related
                                         documents of interest (0.6);
                                         correspondence with J. Palmerson re:
                                         Law Firm C supplemental
                                         production (0.2); correspondence
                                         with J. Hill re: Law Firm C
                                         supplemental production (0.3);
                                         correspondence with J. Hill re:
                                         Professional 6 investigation memo
                                         topics (0.6); finalize Professional 6
                                         investigation memo (0.4); finalize
                                         Law Firm 3 investigation memo (0.6);
                                         finalize Law Firm 33 investigation
                                         memo (0.7); correspondence with M.
                                         Xu re: finalizing Law Firm 3 and
                                         Professional 6 investigation memos
                                         (0.3); finalize interview memos for
                                         Employee 16, Employee 17,
                                         Employee 18, and Employee 20 (0.4);
                                         correspondence with K. Lemire re:
                                         finalizing investigation interview
                                         memoranda for Advisor G, Employee
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                                         25, and Employee 26 (0.3);
                                         correspondence with O. Yeffet re:
                                         Law Firm 1 investigation workflow
                                         (0.2); correspondence with S. Snower
                                         re: Law Firm 31 document review
                                         (0.5); review and revise Advisor 16
                                         investigations memo (0.6); internal
                                         correspondence and coordination
                                         with B. Ledvora re: Law Firm 13
                                         investigations memo (0.2); follow-up
                                         fact research re: same (0.5).

07/08/24          TCM                    Call with K. Lemire re. status of                                                                    3.10     4,017.60
                                         Insider 2 investigation (.1); review
                                         and revise Insider 2 investigation ppt
                                         and emails with K. Lemire re. same
                                         (1.6); review and revise updated draft
                                         of Advisor 12 investigation memo
                                         (1.4).

07/08/24          ET3                    Review and revise Law Firm 3                                                                         4.40     3,920.40
                                         investigation memo and review and
                                         analysis of documents in connection
                                         with same (4.4).

07/08/24          JA4                    Review and analysis of insider                                                                       8.40     7,484.40
                                         documents for purposes of
                                         supplementing professional and
                                         insider investigations (8.4).

07/08/24          SS7                    Review and revise memorandum                                                                         0.20      197.10
                                         regarding Law Firm 31 investigation
                                         (0.2).

07/08/24          KL                     Review and analyze insider                                                                           0.90     1,510.65
                                         documents (.1); review and analyze
                                         materials re campaign contributions
                                         and draft related email to QE team
                                         (.3); tc T. Murray re Insider 2
                                         investigation powerpoint (.1); review
                                         and revise Insider 2 investigation
                                         powerpoint (.4).

07/08/24          JP                     Correspondence with O. Yeffet                                                                        0.20      249.30
                                         regarding Law Firm 1 investigation
                                         (0.2).

07/08/24          BL5                    Revise memo re: results of                                                                           2.70     2,660.85

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                                         investigation of Law Firm 13 (2.7).

07/09/24          JY1                    Review and analyze Law Firm M                                                                        1.20      1,501.20
                                         materials related to retainer payment
                                         (1.2).

07/09/24          SH6                    Updates to professional investigation                                                              11.00      11,830.50
                                         memos tracker (0.2); review and
                                         revise Law Firm 13 investigation
                                         memo (1.2); correspondence with B.
                                         Ledvora re: same (0.6); follow-up fact
                                         research re: same (1.1);
                                         correspondence with G. Heinerikson
                                         re: Advisor 16 investigations memo
                                         (0.4); review and revise Advisor 16
                                         investigations memo (0.8); conference
                                         with J. Hill re: Law Firm 11
                                         investigation topics (0.4); review and
                                         revise Law Firm 11 investigations
                                         memo (2.1); correspondence with J.
                                         Hill re: same (0.7); follow-up fact
                                         research re: Law Firm 11
                                         investigation (0.9); correspondence
                                         with A. Alden re: Law Firm 11
                                         investigation and foreign law topics
                                         (0.5); correspondence with S&C re:
                                         Insider 6 document productions (0.3);
                                         correspondence with K. Lemire and
                                         T. Murray re: Insider 2 investigation
                                         topics (0.3); analyze R. Salame
                                         sentencing transcript and information
                                         re: Insider 2 investigation topics (0.6);
                                         correspondence with S. Snower re:
                                         Insider 3 and Insider 6 documents of
                                         interest (0.4); correspondence with
                                         FTI re: Law Firm C supplemental
                                         production (0.5).

07/09/24          JH8                    Draft correspondence regarding                                                                       3.90      3,088.80
                                         foreign legal advice in connection
                                         with Law Firm 11 investigation (.1);
                                         fact investigation in connection with
                                         Law Firm 11 investigation (.8);
                                         conference w/ S. Hill re: Law Firm 11
                                         investigation (.4); analyze Law Firm
                                         11 advice in connection with Law
                                         Firm 11 investigation (2.6).
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07/09/24          TCM                    Call with S. Snower re. status of                                                                    3.00      3,888.00
                                         particular professionals' investigation
                                         memos (.1); emails with S. Snower re.
                                         Law Firm K retainer repayment (.1);
                                         review and revise updated draft of
                                         Law Firm 32 investigation memo
                                         (2.6); review and analyze select
                                         emails of Insider 3 and Insider 4 and
                                         emails with K. Lemire, S. Snower,
                                         and S. Hill re. same (.2).

07/09/24          JP                     Review, download, and transmit files                                                                 0.10       124.65
                                         sent from Law Firm C in response to
                                         follow-up document request (0.1).

07/09/24          BL5                    Revise memo re: results of                                                                           6.10      6,011.55
                                         investigation of Law Firm 13 (6.1).

07/09/24          JA4                    Review and analysis of insider                                                                       5.60      4,989.60
                                         documents for purposes of
                                         supplementing insider and
                                         professional investigations (5.6).

07/10/24          SH6                    Review and revise Law Firm 13                                                                      12.10      13,013.55
                                         investigation memo (3.4);
                                         correspondence with B. Ledvora re:
                                         same (0.7); follow-up fact research re:
                                         Law Firm 13 investigation memo
                                         (0.8); correspondence with A&M re:
                                         Law Firm 13 payment analysis (0.3);
                                         internal correspondence with O.
                                         Yeffet re: insider data (0.1);
                                         correspondence with J. Abrams re:
                                         insider data review (0.1); review and
                                         analyze insider documents for
                                         purposes of supplementing insider
                                         and professional investigations (2.9);
                                         correspondence with A. Alden re:
                                         Law Firm 11 investigations and
                                         foreign law topics (0.7);
                                         correspondence with J. Hill re: same
                                         (0.2); internal correspondence and
                                         coordination with A. Corkhill and A.
                                         Alden re: same (0.4); correspondence
                                         with FTI re: Law Firm C
                                         supplemental production (0.2);
                                         correspondence with J. Hill re: same
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                                         (0.3); analyze Law Firm C letter re:
                                         supplemental production (0.3);
                                         correspondence with B. Ledvora re:
                                         Law Firm 13 investigation memo
                                         (0.9); follow-up fact research re: same
                                         (0.8).

07/10/24          JH8                    Review and analyze Law Firm 11                                                                       5.00      3,960.00
                                         advice to prepare Law Firm 11
                                         investigative memo (2.5); review and
                                         analyze Law Firm 11 documents re:
                                         regulatory compliance to draft Law
                                         Firm 11 investigative memo (2.5).

07/10/24          JA4                    Review and analysis of insider                                                                       0.60       534.60
                                         documents for purposes of
                                         supplementing insider and
                                         professional investigations (.6).

07/10/24          BL5                    Revise memo re: results of                                                                           6.60      6,504.30
                                         investigation of Law Firm 13 (5.4);
                                         revise memo re: results of
                                         investigation of Employee 6 (1.2).

07/11/24          SS7                    Review and revise memorandum                                                                         2.70      2,660.85
                                         regarding Law Firm 32 investigation
                                         (1.5); review and revise
                                         memorandum regarding Advisor 12
                                         investigation (1.2).

07/11/24          SH6                    Updates to professional investigation                                                              13.00      13,981.50
                                         memos tracker (0.2); follow-up fact
                                         research re: Law Firm 13
                                         investigation memo (0.9); review and
                                         revise Law Firm 13 investigation
                                         memo (0.8); correspondence with B.
                                         Ledvora re: same (0.6);
                                         correspondence with A. Alden and B.
                                         Ledvora re: same (0.1); internal
                                         correspondence with O. Yeffet re:
                                         Law Firm 11 investigation topics
                                         (0.5); internal correspondence with S.
                                         Snower re: same (0.1); follow-up fact
                                         research re: Law Firm 11
                                         investigations (1.8); internal
                                         correspondence and coordination
                                         with A. Alden re: Law Firm 11

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                                         investigations (0.6); internal
                                         correspondence and coordination
                                         with J. Hill re: Law Firm 11
                                         investigations (0.7); review Law Firm
                                         C supplemental production (0.6);
                                         review and revise Law Firm 11
                                         investigations memo (1.3); follow-up
                                         fact research re: Law Firm 11
                                         investigation topics (0.7); internal
                                         correspondence and coordination
                                         with A. Corkhill and A. Alden re:
                                         same (0.3); correspondence with A.
                                         Alden and S. Rand re: Law Firm 3
                                         investigation memo (0.3);
                                         correspondence with G. Heinerikson
                                         re: Advisor 16 investigation memo
                                         (0.2); correspondence with J. Abrams
                                         re: insider data review (0.1); review
                                         and analyze insider documents for
                                         purposes of supplementing insider
                                         and professional investigations (3.2).

07/11/24          JB11                   Draft Law Firm 1 investigations                                                                      0.70      623.70
                                         memo and research in connection
                                         with same (0.7).

07/11/24          ET3                    Review and revise Law Firm 3                                                                         4.20     3,742.20
                                         investigation memo and review and
                                         analysis of documents in connection
                                         with same (4.2).

07/11/24          JH8                    Review and analyze Law Firm 11                                                                       2.40     1,900.80
                                         documents re: regulatory compliance
                                         to draft Law Firm 11 investigative
                                         memo (2.4).

07/11/24          TCM                    Review of latest revisions to Advisor                                                                0.30      388.80
                                         12 investigation memo (.3).

07/11/24          OBY                    Revise Law Firm 1 claims                                                                             2.00     2,151.00
                                         investigation memo (2.0).

07/11/24          AC                     Correspond with A. Alden re.                                                                         0.20      284.40
                                         analysis of Law Firm 11 advice
                                         regarding compliance with foreign
                                         law (0.2).

07/11/24          BL5                    Revise memo re: results of                                                                           2.70     2,660.85

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                                         investigation of Law Firm 13 (2.7).

07/12/24          APA                    Teleconferences with O. Yeffet                                                                       0.90     1,405.35
                                         regarding Law Firm 1 claims
                                         investigation memorandum (0.9).

07/12/24          JH8                    Conference w/ S. Hill re Law Firm 11                                                                 4.90     3,880.80
                                         investigative memo (.2); review and
                                         analyze Law Firm 11 documents re:
                                         regulatory compliance to draft Law
                                         Firm 11 investigative memo (4.7).

07/12/24          TCM                    Review of latest revisions to Law                                                                    0.40      518.40
                                         Firm 32 investigation memo (.4).

07/12/24          SH6                    Updates to professional investigation                                                                7.10     7,636.05
                                         memos tracker (0.2); conference with
                                         J. Hill re: Law Firm 11 investigation
                                         topics (0.2); correspondence with M.
                                         Xu re: Law Firm 11, Law Firm 34, and
                                         Advisor 16 investigation memo status
                                         (0.2); internal correspondence with O.
                                         Yeffet re: Law Firm 11 investigation
                                         topics (0.3); internal correspondence
                                         with O. Yeffet re: Law Firm 1
                                         investigation topics (0.3); internal
                                         correspondence and coordination
                                         with J. Hill re: Law Firm 11
                                         investigation (0.9); review and revise
                                         Law Firm 11 investigations memo
                                         (1.1); internal correspondence and
                                         coordination with A. Alden re: Law
                                         Firm 11 investigation memo (0.7);
                                         finalize in-house counsel (Employee
                                         16, Employee 17, Employee 18,
                                         Employee 20) interview memos (1.3);
                                         review and analyze insider
                                         documents for purposes of
                                         supplementing insider and
                                         professional investigations (1.9).

07/12/24          OBY                    Revise Law Firm 1 claims                                                                             5.00     5,377.50
                                         investigation memo (3.1); legal
                                         research on potential claims in
                                         connection with same (1.0); calls with
                                         A. Alden on same (.9).

07/12/24          SS7                    Review and revise memorandum                                                                         0.10       98.55
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                                         regarding Law Firm 31 investigation
                                         (0.1).

07/12/24          AK2                    Analyze communications re: insider                                                                   0.10      129.60
                                         data sources, status of same, and next
                                         steps re: same (.1).

07/12/24          AC                     Correspond with S. Hill and R. True                                                                  0.30      426.60
                                         re. analysis of Law Firm 11 advice
                                         regarding compliance with foreign
                                         law (0.3).

07/14/24          KL                     Review and revise Insider 2                                                                          0.70     1,174.95
                                         investigation powerpoint (.7).

07/15/24          APA                    Review emails from S. Rand and S.                                                                    1.30     2,029.95
                                         Hill regarding Bank 2 investigation
                                         (0.1); emails to and from J. Young
                                         regarding same (0.1); emails to and
                                         from O. Yeffet regarding Law Firm 1
                                         investigation (0.1); teleconference
                                         with Alvarez and Marsal and J.
                                         Young regarding Bank 3
                                         investigation (0.5); review and revise
                                         Law Firm 13 investigative
                                         memorandum (0.5).

07/15/24          SH6                    Conference with K. Lemire re: Insider                                                                9.10     9,787.05
                                         2 summary of investigation
                                         presentation (0.3); follow-up
                                         correspondence and coordination
                                         with K. Lemire re: same (0.6); follow-
                                         up fact research re: Insider 2
                                         summary of investigation
                                         presentation (2.3); correspondence
                                         with A&M re: Insider 2 payment
                                         analysis topics (0.3); updates to
                                         professional investigation memos
                                         tracker (0.3); correspondence with A.
                                         Alden and T. Murray re: professional
                                         investigation memos workflow and
                                         status (0.4); review and revise Law
                                         Firm 13 investigation memo (1.4);
                                         follow-up fact research re: Law Firm
                                         13 investigation memo (1.2); internal
                                         correspondence with O. Yeffet
                                         regarding professionals

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                                         investigations report (0.1);
                                         correspondence with J. Young and A.
                                         Alden re: Bank 2 investigation topics
                                         (0.1); review and revise Law Firm 11
                                         investigations memo (0.8); internal
                                         correspondence and coordination
                                         with A. Alden and J. Hill re: Law
                                         Firm 11 investigations memo (0.7);
                                         correspondence with Investigator, M.
                                         Anderson, A. Kutscher, and O. Yeffet
                                         re: insider data (0.2); correspondence
                                         with K. Whitfield re: same (0.1);
                                         internal correspondence with M. Xu
                                         re: Advisor 16 and Law Firm 11
                                         investigation memos (0.3).

07/15/24          JB11                   Legal research re fiduciary duties in                                                                0.40      356.40
                                         Delaware for Law Firm 1
                                         investigation memo (0.4).

07/15/24          JY1                    Conference with A&M regarding                                                                        2.70     3,377.70
                                         data from Bank 3 (.5); correspondence
                                         with A. Alden and related research
                                         on potential claims against Bank 2
                                         (2.2).

07/15/24          JH8                    Draft Law Firm 11 section of                                                                         0.70      554.40
                                         professionals investigative report (.7).

07/15/24          TCM                    Emails with A. Alden and S. Hill re.                                                                 0.40      518.40
                                         status of particular professionals'
                                         investigation memos and review of
                                         latest memo status chart (.2); review
                                         of certain communications with
                                         Insider 2 re. political donations (.2).

07/15/24          OBY                    Revise Law Firm 1 claims                                                                             3.50     3,764.25
                                         investigation memo (3.5).

07/15/24          AK2                    Analyze communications re: insider                                                                   0.20      259.20
                                         data sources, status of same, and next
                                         steps re: same (.2).

07/15/24          GH                     Revise summary memo on results of                                                                    1.40     1,108.80
                                         investigation into Advisor 16 (1.4).

07/15/24          ISG                    Review and revise Law Firm 1                                                                         2.60     3,147.30
                                         investigation memorandum (2.6).

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07/15/24          KL                     Review and revise Insider 2                                                                          0.90     1,510.65
                                         investigation powerpoint (.6); tc S.
                                         Hill re Insider 2 investigation (.3).

07/16/24          SH6                    Updates to professional investigation                                                                6.90     7,420.95
                                         memos tracker (0.3); review and
                                         revise professionals investigation
                                         report workflow, appendices, and
                                         attachments tracker (0.4); follow-up
                                         fact research re: Law Firm 13
                                         investigation memo (1.3); review and
                                         revise Law Firm 13 investigation
                                         memo (2.6); correspondence with B.
                                         Ledvora re: same (0.4);
                                         correspondence with A. Alden re:
                                         same (0.2); internal correspondence
                                         with O. Yeffet re: Law Firm 1
                                         investigation topics (0.4);
                                         correspondence with G. Heinerikson
                                         and M. Xu re: Advisor 16 payment
                                         analysis topics (0.3); correspondence
                                         with O. Yeffet re: Law Firm 1
                                         investigation topics (0.1); review and
                                         revise professionals investigation
                                         report (0.9).

07/16/24          APA                    Review and revise Law Firm 13                                                                        1.30     2,029.95
                                         investigation memorandum and
                                         email to S. Hill regarding same (1.3).

07/16/24          ET3                    Review and revise Law Firm 3                                                                         3.90     3,474.90
                                         investigation memo and review and
                                         analysis of documents in connection
                                         with same (3.9).

07/16/24          OBY                    Revisions to Law Firm 1 claims                                                                       4.00     4,302.00
                                         investigation memo per A. Alden
                                         comments (4.0).

07/16/24          MX1                    Review and revise draft investigation                                                                5.50     6,162.75
                                         memo on Advisor 16 (4.9);
                                         correspondence with G. Heinerikson
                                         re: A&M analysis on Advisor 16's
                                         invoices and payments (0.6).

07/16/24          GH                     Revise summary memo on results of                                                                    0.50      396.00
                                         investigation into Advisor 16 (0.5).

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07/16/24          ISG                    Review and revise Law Firm 1                                                                         1.10     1,331.55
                                         investigation memorandum (1.1).

07/17/24          SS7                    Review and revise memorandum                                                                         0.10       98.55
                                         regarding Law Firm 32 investigation
                                         (0.1).

07/17/24          SH6                    Review and revise Law Firm 13                                                                        6.40     6,883.20
                                         investigation memo (2.3);
                                         correspondence with B. Ledvora re:
                                         same (0.4); follow-up fact
                                         investigation re: same (1.3); internal
                                         correspondence and coordination
                                         with J. Hill re: updates to Advisor 39
                                         investigation memo (0.8); review and
                                         revise Advisor 39 investigation
                                         memo (0.6); correspondence with O.
                                         Yeffet re: Law Firm 1 investigation
                                         topics (0.1); correspondence with
                                         A&M re: Insider 2 payment analysis
                                         topics (0.3); analyze A&M summary
                                         re: Insider 2 post-petition payments
                                         (0.4); internal correspondence and
                                         coordination with K. Lemire re: same
                                         (0.2).

07/17/24          APA                    Emails to and from O. Yeffet and                                                                     0.10      156.15
                                         Alvarez & Marsal regarding Law
                                         Firm 1 investigation (0.1).

07/17/24          ET3                    Review and revise Law Firm 3                                                                         4.50     4,009.50
                                         investigation memo and review and
                                         analysis of documents in connection
                                         with same (4.5).

07/17/24          JH8                    Draft Advisor 39 investigative memo                                                                  3.20     2,534.40
                                         (3.2).

07/17/24          OBY                    Call with A&M on investigation                                                                       4.90     5,269.95
                                         regarding loans to Alameda Research
                                         from third parties (.5); prep for same
                                         (.1); revise Law Firm 1 claims
                                         investigation memo (4.3).

07/17/24          KL                     Review A&M slide for Insider 2                                                                       0.30      503.55
                                         investigation presentation (.2);
                                         respond to emails re Company F
                                         payments (.1).

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07/17/24          BL5                    Revise memo re: results of                                                                           1.40     1,379.70
                                         investigation of Law Firm 13 (1.4).

07/18/24          SS7                    Review and revise memorandum                                                                         0.40      394.20
                                         regarding Advisor 12 investigation
                                         (0.4).

07/18/24          SH6                    Updates to professional investigation                                                                6.90     7,420.95
                                         memos tracker (0.2); review and
                                         revise Law Firm 13 investigation
                                         memo (2.6); follow-up fact research
                                         re: Law Firm 13 investigation memo
                                         (1.3); correspondence with B. Ledvora
                                         re: same (0.3); correspondence with
                                         A. Alden re: same (0.1); internal
                                         correspondence and coordination
                                         with B. Carroll re: Employee 5
                                         investigations memo (0.2); internal
                                         correspondence with O. Yeffet re:
                                         Law Firm 1 investigation topics (0.4);
                                         internal correspondence and
                                         coordination with J. Hill re: updates
                                         to Advisor 39 investigation memo
                                         (0.6); draft correspondence with Law
                                         Firm A and T. Murray re: Debtors’
                                         trust asset topics (0.3); revisions and
                                         internal coordination re: professional
                                         investigation report (0.9).

07/18/24          APA                    Review and analyze emails from A.                                                                    0.10      156.15
                                         Makhijani and O. Yeffet regarding
                                         insolvency (0.1).

07/18/24          ET3                    Review and revise Law Firm 3                                                                         0.50      445.50
                                         investigation memo (0.5).

07/18/24          JH8                    Draft Advisor 39 investigative memo                                                                  4.00     3,168.00
                                         (4.0).

07/18/24          TCM                    Emails with S. Hill re. status of                                                                    0.10      129.60
                                         communications with Law Firm A re.
                                         trust assets (.1).

07/18/24          OBY                    Legal research on potential claims                                                                   6.80     7,313.40
                                         against Law Firm 1 to further revise
                                         claims investigation memo (2.0);
                                         revise claims investigation memo re:
                                         Law Firm 1 (4.4); call with B. Carroll

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                                         on same (.4).

07/18/24          BC6                    Revise Law Firm 1 claims                                                                             2.20     1,960.20
                                         investigation memo per A. Alden
                                         comments and perform related
                                         research (1.8); confer with O. Yeffet re
                                         same (.4).

07/18/24          JY1                    Draft letter to Law Firm M regarding                                                                 1.20     1,501.20
                                         retainer (1.2).

07/18/24          BL5                    Revise memo re: results of                                                                           3.90     3,843.45
                                         investigation into Employee 6 (3.9).

07/19/24          SH6                    Updates to professional investigation                                                                5.50     5,915.25
                                         memos tracker (0.3); correspondence
                                         with A. Alden, O. Yeffet, J. Young,
                                         and T. Murray re: professionals
                                         investigation workflow and status
                                         (0.3); correspondence with B. Ledvora
                                         re: Employee 6 investigation memo
                                         topics (0.4); review and revise Law
                                         Firm 13 investigation memo (1.1);
                                         follow-up fact research re: Law Firm
                                         13 investigation memo (1.8); internal
                                         correspondence with A. Alden re:
                                         same (0.3); internal correspondence
                                         with O. Yeffet re: same (0.4); review
                                         and revise Law Firm 31
                                         investigations memo (0.6); internal
                                         correspondence and coordination
                                         with J. Hill re: updates to Advisor 39
                                         investigation memo (0.3).

07/19/24          BL5                    Revise memo re: results of                                                                           5.70     5,617.35
                                         investigation into Employee 6 (5.7).

07/19/24          APA                    Review and revise letter to Law Firm                                                                 0.20      312.30
                                         M (0.2).

07/19/24          APA                    Review and revise Law Firm 13                                                                        0.30      468.45
                                         investigative memorandum and
                                         emails regarding same (0.2); emails to
                                         and from O. Yeffet, S. Hill, T. Murray
                                         and J. Young regarding status of
                                         professionals investigation
                                         memorandum (0.1).

07/19/24          TCM                    Emails with A. Alden and S. Hill re.                                                                 0.10      129.60
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                                         status of particular professionals'
                                         investigation memos (.1).

07/19/24          JY1                    Correspondence with A. Alden                                                                         0.20      250.20
                                         regarding Law Firm M letter (.2).

07/19/24          OBY                    Revise Law Firm 1 claims                                                                             3.80     4,086.90
                                         investigation memo (3.8).

07/19/24          SS7                    Call with T. Murray regarding review                                                                 0.10       98.55
                                         of memoranda regarding
                                         professionals (0.1).

07/19/24          JH8                    Draft Advisor 39 investigative memo                                                                  3.90     3,088.80
                                         (3.9).

07/19/24          BC6                    Revise Law Firm 1 claims                                                                             2.80     2,494.80
                                         investigation memo per O. Yeffet
                                         comments and questions (2.8).

07/20/24          TCM                    Revisions to latest draft of Advisor 12                                                              1.70     2,203.20
                                         investigation memo (1.7).

07/20/24          BL5                    Revise memo re: results of                                                                           0.70      689.85
                                         investigation into Employee 6 (0.7).

07/21/24          TCM                    Further revisions to latest draft of                                                                 2.70     3,499.20
                                         Advisor 12 investigation memo and
                                         call and emails with S. Snower re.
                                         same (.6); revisions to latest draft of
                                         Law Firm 32 investigation memo
                                         (2.1).

07/21/24          APA                    Review FTX motion to approve FTC                                                                     0.40      624.60
                                         settlement and emails to and from O.
                                         Yeffet regarding same (0.4).

07/21/24          SS7                    Finalize memorandum regarding                                                                        1.30     1,281.15
                                         Advisor 12 investigation (1.3).

07/22/24          SS7                    Review and revise memorandum                                                                         0.40      394.20
                                         regarding Law Firm 32 investigation
                                         (0.4).

07/22/24          TCM                    Revise letter to Law Firm M re. return                                                               4.60     5,961.60
                                         of retainer (.2); emails with A. Alden
                                         and S. Hill re. status of particular
                                         professionals' investigation memos
                                         (.1); revisions to updated drafts of
                                         Law Firm 34 and Advisor 9
                                         investigative memos (4.3).
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07/22/24          SH6                    Updates to professional investigation                                                                7.50     8,066.25
                                         memos tracker (0.3); correspondence
                                         with Investigator and M. Anderson,
                                         A. Kutscher, and O. Yeffet re: insider
                                         data (0.2); correspondence with J.
                                         Young re: review workflow of insider
                                         data (0.2); review and revise Law
                                         Firm 13 investigations memo (0.6);
                                         correspondence with Law Firm A re:
                                         Debtors’ trust asset topics (0.2);
                                         internal correspondence and
                                         coordination with T. Murray re: same
                                         (0.1); internal correspondence with R.
                                         True, A. Corkhill, and A. Alden re:
                                         Law Firm 11 investigation topics and
                                         foreign law topics (0.4); review and
                                         revise Advisor 39 investigations
                                         memo (2.1); review and analyze
                                         insider documents for purposes of
                                         supplementing insider and
                                         professional investigations (3.4).

07/22/24          JY1                    Finalize and serve letter to Law Firm                                                                0.50      625.50
                                         M regarding retainer return (.5).

07/22/24          APA                    Review and revise Advisor 12                                                                         0.50      780.75
                                         investigative memorandum (0.5).

07/22/24          BL5                    Revise memo re: investigation into                                                                   7.50     7,391.25
                                         Employee 6 and review and analyze
                                         documents re: same (7.5).

07/22/24          AK2                    Analyze communications re: insider                                                                   0.10      129.60
                                         data sources, status of same, and next
                                         steps re: same (.1).

07/22/24          RT1                    Reviewing materials re: foreign law                                                                  1.00     1,296.00
                                         questions in connection with Law
                                         Firm 11 investigation (0.6);
                                         considering issues on same (0.3);
                                         corresponding with S Hill re: scope of
                                         remaining issues (0.1).

07/22/24          KL                     Review and analyze materials re                                                                      0.20      335.70
                                         Insider 2 investigation (.2).

07/23/24          TCM                    Emails with A. Alden and S. Snower                                                                   0.30      388.80
                                         re. status of particular professionals'

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                                         investigation memos (.2); call with S.
                                         Snower re. same (.1).

07/23/24          SH6                    Analyze R. True foreign law analysis                                                                 3.30     3,549.15
                                         re: Law Firm 11 investigation topics
                                         (1.2); correspondence with A. Alden
                                         and R. True re: same (0.3); internal
                                         correspondence and coordination
                                         with J. Hill re: revisions to Law Firm
                                         11 investigation memo and foreign
                                         law analysis findings (0.4); internal
                                         correspondence and coordination
                                         with A. Alden re: same (0.2); review
                                         and revise Law Firm 11
                                         investigations memo (0.8); internal
                                         correspondence and coordination
                                         with T. Murray and M. Xu re: Law
                                         Firm 34 investigation memo (0.2);
                                         internal correspondence and
                                         coordination with T. Murray and A.
                                         Alden re: professional memo work
                                         stream and status topics (0.2).

07/23/24          SS7                    Call with T. Murray re. status of                                                                    0.10       98.55
                                         particular professionals' investigation
                                         memos (0.1).

07/23/24          APA                    Emails to and from S. Hill and R.                                                                    1.50     2,342.25
                                         True regarding Law Firm 11
                                         investigative memorandum (0.2);
                                         emails to and from T. Murray and S.
                                         Hill regarding status of professionals
                                         investigation memorandums (0.1);
                                         review and revise Advisor 12
                                         investigative memorandum (0.4);
                                         review and revise Law Firm 11
                                         investigation memorandum (0.8).

07/23/24          BL5                    Revise memo re: investigation into                                                                   8.90     8,770.95
                                         Employee 6 and review and analyze
                                         documents re: same (8.9).

07/23/24          JH8                    Draft Law Firm 11 investigatory                                                                      0.30      237.60
                                         memo (.3).

07/23/24          BC6                    Correspondence with S. Hill re FTX                                                                   0.20      178.20
                                         investigations and status (.2).

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07/23/24          RT1                    Researching legal issues re: Law Firm                                                                9.00     11,664.00
                                         11 investigation issue topics and
                                         foreign law (3); drafting research note
                                         re: same (4); reviewing, revising and
                                         further drafting of note (1); internal
                                         correspondence and coordination
                                         with A. Corkhill re: Law Firm 11
                                         investigation topics and initial
                                         findings (0.2); emails with A. Corkhill
                                         re: same (0.1); finalising and
                                         dispatching research note to internal
                                         QE Law Firm 11 investigations team
                                         (0.7).

07/23/24          AC                     Review and revise draft note from R.                                                                 0.80      1,137.60
                                         True re. foreign law question in
                                         connection with Law Firm 11
                                         investigation (0.8).

07/23/24          KL                     Review and analyze materials re                                                                      0.20       335.70
                                         Insider 2 investigation (.2).

07/24/24          APA                    Emails to and from S. Hill and M.                                                                    2.40      3,747.60
                                         Scheck regarding preference claims
                                         (0.1); review and revise Law Firm 1
                                         investigation memorandum and
                                         emails to and from O. Yeffet
                                         regarding same (1.7); teleconference
                                         with O. Yeffet regarding Law Firm 1
                                         investigation memorandum (0.4);
                                         emails with M. Scheck regarding Law
                                         Firm 1 investigative memorandum
                                         (0.2).

07/24/24          APA                    Emails to and from Sullivan and                                                                      0.10       156.15
                                         Cromwell regarding Bank 4
                                         documents (0.1).

07/24/24          TCM                    Review and analysis of latest draft of                                                               1.40      1,814.40
                                         Law Firm 32 investigation memo
                                         (1.0); call with S. Snower re. same (.1);
                                         call with K. Lemire re. Advisor 9
                                         investigation memo (.2); review of
                                         Employee 20 interview memo re.
                                         Advisor 9 (.1).

07/24/24          SH6                    Review and revise Law Firm 34                                                                        7.40      7,958.70
                                         investigations memo (0.5); internal
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                                         correspondence and coordination
                                         with M. Xu and G. Heinerikson re:
                                         same (0.2); internal correspondence
                                         and coordination with B. Carroll re:
                                         omnibus investigations report and
                                         Insider 5 topics (0.6); review and
                                         revise Law Firm 11 investigation
                                         memo (0.6); correspondence with J.
                                         Hill re: same (0.2); correspondence
                                         with A. Alden re: same (0.2);
                                         conference with B. Ledvora re:
                                         Employee 6 investigation memo
                                         topics (0.2); internal correspondence
                                         and coordination with B. Ledvora re:
                                         Employee 6 investigation memo
                                         topics (0.7); review and revise
                                         Employee 6 investigation memo (3.6);
                                         follow-up fact research re: same (0.6).

07/24/24          JH8                    Draft Law Firm 11 investigatory                                                                      2.40     1,900.80
                                         memo (2.4).

07/24/24          OBY                    Call with A. Alden on Law Firm 1                                                                     1.40     1,505.70
                                         claims investigation memo (.4);
                                         follow up emails to M. Barlow on
                                         same (.2); revise Law Firm 1 claims
                                         investigation memo (.8).

07/24/24          BL5                    Revise memo re: investigation into                                                                   2.40     2,365.20
                                         Employee 6 and review and analyze
                                         documents re: same (2.2); call with S.
                                         Hill re: same (0.2).

07/24/24          SS7                    Review and revise investigative                                                                      3.20     3,153.60
                                         memorandum regarding Advisor 9
                                         (3.1); call with T. Murray re: Law
                                         Firm 32 investigative memorandum
                                         (0.1).

07/24/24          JB13                   Analyze R. True note re Law Firm 11                                                                  0.40      374.40
                                         investigation (0.2); correspond with
                                         R. True re possible updates to same
                                         (0.2).

07/24/24          KL                     TC T. Murray re Advisor 9                                                                            1.40     2,349.90
                                         investigation (.2); review and analyze
                                         Advisor 9 investigation memo and
                                         underlying documents (.8); review
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                                         and analyze email from O. Yeffet
                                         with attachments re Company F
                                         payments (.4).

07/25/24          TCM                    Further revisions to Advisor 9                                                                       1.40     1,814.40
                                         investigation memo, and analysis of
                                         certain underlying documents (1.4).

07/25/24          SH6                    Internal correspondence and                                                                          1.70     1,828.35
                                         coordination with S. Snower and T.
                                         Murray re: Advisor 12 investigation
                                         memo topics (0.6); review and revise
                                         Advisor 39 investigations memo (1.1).

07/25/24          OBY                    Emails to A. Nelder re: Law Firm 1                                                                   0.20      215.10
                                         claims investigation memo and
                                         foreign law legal analysis (.2).

07/25/24          BL5                    Revise memo re: investigation into                                                                   4.70     4,631.85
                                         Employee 6 and review and analyze
                                         documents re: same (4.7).

07/25/24          SS7                    Review and revise memorandum                                                                         0.30      295.65
                                         regarding Advisor 12 investigation
                                         (0.3).

07/25/24          BC6                    Review and analyze updated Law                                                                       1.00      891.00
                                         Firm 1 fact investigation memo (1.0).

07/26/24          APA                    Review and analyze emails from O.                                                                    3.30     5,152.95
                                         Yeffet and A. Nelder regarding
                                         foreign law research in connection
                                         with Law Firm 1 investigation (0.1);
                                         review and revise Law Firm 1
                                         investigative memorandum and
                                         emails to and from O. Yeffet
                                         regarding same (3.2).

07/26/24          SH6                    Correspondence with O. Yeffet re:                                                                    0.10      107.55
                                         insider data (0.1).

07/26/24          BL5                    Revise memo re: investigation into                                                                   0.80      788.40
                                         Employee 6 (0.8).

07/26/24          AK2                    Analyze communications re: insider                                                                   0.10      129.60
                                         data sources, status of same, and next
                                         steps re: same (.1).

07/27/24          BC6                    Draft Insider 5 insert for omnibus                                                                   0.30      267.30
                                         investigative report for S. Hill (.3).
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07/29/24          SH6                    Updates to professional investigation                                                                0.80      860.40
                                         memos tracker (0.3); conference with
                                         T. Murray re: Law Firm 34
                                         investigations memo (0.1); internal
                                         correspondence and coordination
                                         with T. Murray and G. Heinerikson
                                         re: same (0.4).

07/29/24          JY1                    Correspondence with A&M                                                                              0.20      250.20
                                         regarding Bank 3 data review (.2).

07/29/24          OBY                    Revise Law Firm 1 claims                                                                             2.50     2,688.75
                                         investigation memo per A. Alden
                                         edits (2.5).

07/29/24          TCM                    Call with S. Hill re. status of Law                                                                  0.80     1,036.80
                                         Firm 34 investigation memo (.1); call
                                         with S. Snower re. status of Advisor 9
                                         investigation memo and review of
                                         underlying documents re. same (.4);
                                         review and analysis of latest Law
                                         Firm 34 investigation memo and
                                         emails with S. Hill, M. Xu, and G.
                                         Heinerikson re. same (.3).

07/29/24          BL5                    Revise memo re: investigation into                                                                   3.40     3,350.70
                                         Employee 6 and review and analyze
                                         documents re: same (3.4).

07/29/24          SS7                    Review and analyze materials                                                                         0.70      689.85
                                         regarding investigation of Advisor 9,
                                         including call with T. Murray (0.7).

07/29/24          AK2                    Analyze communications re: insider                                                                   0.20      259.20
                                         data sources, status of same, and next
                                         steps re: same (.2).

07/29/24          GH                     Review and revise memo                                                                               0.30      237.60
                                         summarizing results of investigation
                                         into Law Firm 34 (0.3).

07/30/24          JY1                    Correspondence with A&M                                                                              0.20      250.20
                                         regarding Bank 3 data analysis (.2).

07/30/24          OBY                    Revise Law Firm 1 claims                                                                             4.00     4,302.00
                                         investigation memo including legal
                                         research on certain claim defenses
                                         (4.0).

07/30/24          APA                    Emails to and from J. Young                                                                          0.10      156.15
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                                         regarding call with Alvarez & Marsal
                                         regarding Bank 3 investigation (0.1).

07/30/24          TCM                    Call with S. Snower and Jones Day re.                                                                0.60      777.60
                                         Advisor F investigation (.1); follow-
                                         up call with S. Snower re. same (.2);
                                         review and analysis of relevant
                                         documents re. Advisor 9
                                         investigation memo (.3).

07/30/24          BL5                    Review and revise memo re:                                                                           4.80     4,730.40
                                         investigation into Employee 6 (4.8).

07/30/24          SS7                    Meeting with Jones Day and T.                                                                        1.00      985.50
                                         Murray regarding Advisor F
                                         production (0.1); preparation for
                                         same (0.7); follow up call with T.
                                         Murray re same (0.2).

07/30/24          AK2                    Analyze communications re: insider                                                                   0.30      388.80
                                         data sources, status of same, and next
                                         steps re: same (.3).

07/31/24          SS7                    Revise memorandum regarding                                                                          2.50     2,463.75
                                         Advisor 9 investigation (2.5).

07/31/24          SH6                    Updates to professional investigation                                                                4.80     5,162.40
                                         memos tracker (0.3); correspondence
                                         with A. Alden and T. Murray re:
                                         professionals investigation memo
                                         status and workflow (0.1); internal
                                         correspondence and coordination
                                         with T. Murray and G. Heinerikson
                                         re: Law Firm 34 investigations memo
                                         (0.5); internal correspondence and
                                         coordination with A. Alden re: same
                                         (0.2); internal correspondence and
                                         coordination with B. Ledvora re:
                                         Employee 6 investigation memo
                                         topics (0.8); review and revise
                                         Employee 6 investigation memo (1.9);
                                         correspondence with A. Alden and B.
                                         Ledvora re: Employee 6 investigation
                                         memo topics (0.1); correspondence
                                         with O. Yeffet re: Law Firm 1
                                         investigation topics (0.2);
                                         correspondence with Investigator,
                                         FTI, and O. Yeffet re: insider data
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                                         (0.7).

07/31/24          OBY                    Revise Law Firm 1 claims                                                                             4.00       4,302.00
                                         investigation memo per latest round
                                         of edits (4.0).

07/31/24          TCM                    Review and analysis of latest draft of                                                               0.30        388.80
                                         Law Firm 34 investigation memo and
                                         email with S. Hill, M. Xu, and G.
                                         Heinerikson re. same (.3).

07/31/24          BL5                    Review and analyze S. Hill's revisions                                                               0.40        394.20
                                         to memo re: investigation into
                                         Employee 6 (0.4).

07/31/24          AK2                    Analyze communications re: insider                                                                   0.10        129.60
                                         data sources, status of same, and next
                                         steps re: same (.1).

07/31/24          GH                     Revise summary memo on results of                                                                    0.30        237.60
                                         investigation into Law Firm 34 (0.3).

                                                                                  SUBTOTAL                                                464.90       498,555.00

14 Friedberg Litigation


07/01/24          SNR                    Call with committee counsel re:                                                                      1.00       1,678.50
                                         strategy and follow up re: same (0.4);
                                         t/c w/ opposing counsel re: open
                                         issues (0.3); address open issues (0.3).

07/02/24          SNR                    Address strategy re: claims and                                                                      0.60       1,007.10
                                         various communications and follow
                                         up re: same (0.6).

07/03/24          SNR                    Address strategy re: open issues and                                                                 0.70       1,174.95
                                         various follow up re: same (0.7).

07/07/24          SNR                    T/c w/ opposing counsel and client re:                                                               0.70       1,174.95
                                         open issues (0.4); follow up re: same
                                         (0.3).

07/08/24          JK1                    Teleconference with H. Robertson re:                                                                 0.30        388.80
                                         adjourning pretrial conference (0.1);
                                         correspondence re: adjourning
                                         pretrial conference (0.2).

                                                                                  SUBTOTAL                                                    3.30       5,424.30


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15 Bankman/Fried Litigation


07/07/24          SNR                    Address issues re: allegations in                                                                    0.30      503.55
                                         article (0.3).

07/09/24          SS7                    Analyze news stories regarding J.                                                                    1.40     1,379.70
                                         Bankman and B. Fried (0.9); draft
                                         correspondence to T. Murray, W.
                                         Sears, S. Hill, and K. Lemire
                                         regarding such news stories (0.5).

07/10/24          SS7                    Draft correspondence to W. Sears and                                                                 0.90      886.95
                                         S. Rand regarding press coverage
                                         related to defendants in FTX v.
                                         Bankman (0.9).

07/29/24          SNR                    T/c w/ opposing counsel re:                                                                          0.70     1,174.95
                                         scheduling (.3); address strategy re:
                                         claims w/ W. Sears (0.4).

07/29/24          WS1                    Confer with opposing counsel re:                                                                     0.30      406.35
                                         deadlines and Project 2 (.3).

                                                                                  SUBTOTAL                                                    3.60     4,351.50

16 Embed/Rocket Litigation


07/15/24          AK2                    Review and analyze court filing re:                                                                  0.20      259.20
                                         mediation and status of same (.2).

                                                                                  SUBTOTAL                                                    0.20      259.20

17 Examiner


07/01/24          APA                    Review the Examiner's annotations                                                                    0.20      312.30
                                         (0.2).

07/01/24          TCM                    Review Examiner Report                                                                               0.10      129.60
                                         supplemental annotations (.1).

07/11/24          SNR                    Address examiner budget issue and                                                                    0.40      671.40
                                         various correspondence re: same
                                         (0.4).

07/31/24          SNR                    T/c w/ examiner team and address                                                                     0.40      671.40
                                         examiner extension request (0.4).

                                                                                  SUBTOTAL                                                    1.10     1,784.70
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18 MDL


07/02/24          SNR                    Attend call w/ MDL counsel (0.4);                                                                    2.50     4,196.25
                                         address strategy re: same and various
                                         communications re: same (0.8);
                                         review materials re: claims overlap
                                         (1.3).

07/05/24          SNR                    Address strategy issues re: MDL                                                                      2.10     3,524.85
                                         claim overlap and review materials
                                         re: same (0.8); t/c w/ MDL counsel re:
                                         various issues and follow up re: same
                                         (1.3).

07/07/24          SNR                    Review MDL filing and address                                                                        0.90     1,510.65
                                         strategy issues w/ client and S&C
                                         (0.9).

07/09/24          SNR                    T/c w/ MDL counsel (0.3); address                                                                    1.70     2,853.45
                                         strategic issues re: MDL and review
                                         materials and various communication
                                         re: same (1.4).

07/10/24          SNR                    Address strategic issues re: MDL and                                                                 1.20     2,014.20
                                         revise materials re: same (0.7);
                                         various t/c w/ S&C re: same (0.5).

07/11/24          SNR                    Address strategic issues re: MDL                                                                     0.70     1,174.95
                                         claims and correspond re: same (0.7).

07/12/24          SNR                    Address strategic issues and follow                                                                  1.20     2,014.20
                                         up call with MDL counsel (1.2).

07/14/24          SNR                    Review materials re: strategic issues                                                                0.70     1,174.95
                                         re: MDL and various correspondence
                                         re: same (0.7).

07/15/24          SNR                    Review materials re: strategic issues                                                                1.20     2,014.20
                                         re: MDL (0.4); t/c w/ MDL counsel re:
                                         same and follow up (0.8).

07/16/24          SNR                    T/c w/ MDL counsel re: open issues                                                                   0.80     1,342.80
                                         (0.4); follow up emails re: same w/
                                         team (0.4).

07/17/24          SNR                    T/c w/ MDL counsel re: open issues                                                                   1.50     2,517.75
                                         and follow up re: same. (0.8); review
                                         and revise materials re: MDL open
                                         issues and correspondence re: same
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                                         (0.7).

07/18/24          SNR                    T/c w/ MDL counsel re: open issues                                                                   0.50      839.25
                                         (0.5).

07/18/24          JS5                    Review order on notice of adversary                                                                  0.20      270.90
                                         proceeding in Delaware (.2).

07/22/24          SNR                    Review MDL mark up and various                                                                       2.30     3,860.55
                                         analysis and correspondence re: same
                                         (2.3).

07/23/24          SNR                    Address MDL-related strategic issues                                                                 3.60     6,042.60
                                         and t/c w/ S&C re: MDL (1.2); review
                                         materials and pleadings re: strategic
                                         MDL issues and arguments (2.4).

07/23/24          JS5                    Emails with MDL team and analysis                                                                    0.20      270.90
                                         regarding potential response on
                                         adversary action (.2).

07/23/24          OBY                    Call with FTX MDL clerk on filing                                                                    0.50      537.75
                                         (.2); review of docket related to notice
                                         of filing (.3).

07/23/24          JP                     Review correspondence regarding                                                                      0.10      124.65
                                         briefing in MDL action and
                                         correspondence with O. Yeffet
                                         regarding same (0.1).

07/24/24          APA                    Teleconference with S. Rand, M.                                                                      0.50      780.75
                                         Scheck, J. Palmerson and O. Yeffet
                                         regarding MDL status and tasks (0.5).

07/24/24          OBY                    Draft motion for leave to file reply in                                                              2.00     2,151.00
                                         MDL (1.0); call with S. Rand, A.
                                         Alden, M. Scheck, and J. Palmerson
                                         on MDL strategy (.5); call with M.
                                         Scheck, J. Palmerson and C. Kelly on
                                         Project 3 (.5).

07/24/24          SNR                    T/c on MDL-related strategic issues                                                                  2.70     4,531.95
                                         w/ M. Scheck, A. Alden, J. Palmerson,
                                         and O. Yeffet (0.5); review materials
                                         and pleadings re: strategic MDL
                                         issues and arguments (2.2).

07/24/24          JS5                    Review and comment on draft                                                                          0.30      406.35
                                         motion for leave to file reply in
                                         support of notice regarding
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                                         adversary proceeding (.3).

07/24/24          MRS                    Call with O. Yeffet, S. Rand, A.                                                                     1.30     1,848.60
                                         Alden, and J. Palmerson re MDL and
                                         related issues (0.5); call with J.
                                         Palmerson, C. Kelly, and O. Yeffet
                                         regarding Project 3 (0.5); call with B.
                                         Glueckstein re MDL strategy (0.3).

07/24/24          CK5                    Call with M. Scheck, J. Palmerson,                                                                   0.50      537.75
                                         and O. Yeffet re Project 3 (0.5).

07/24/24          JP                     Review and analyze order from MDL                                                                    1.90     2,368.35
                                         court requesting briefing from
                                         plaintiffs on notice of adversary
                                         proceeding (0.2); review and revise
                                         motion requesting reply briefing
                                         (0.6); correspondence with S&C
                                         regarding same (0.1); conference call
                                         with S. Rand, A. Alden, M. Scheck,
                                         and O. Yeffet regarding same and
                                         regarding next steps with respect to
                                         MDL (0.5); conference call with M.
                                         Scheck, O. Yeffet, and C. Kelly
                                         regarding Project 3 (0.5).

07/25/24          OBY                    Revise motion to file reply (.4).                                                                    0.40      430.20

07/25/24          SNR                    Review pleadings and materials re:                                                                   3.50     5,874.75
                                         MDL and follow up on strategy re:
                                         same (1.4); review and revise notice
                                         to be filed in MDL (1.3); review and
                                         respond to communications from
                                         MDL counsel (0.8).

07/25/24          JS5                    Emails and analysis about meet and                                                                   0.60      812.70
                                         confer with MDL Plaintiff’s counsel
                                         (.6).

07/25/24          CK5                    TC with M. Scheck and J. Palmerson                                                                   4.50     4,839.75
                                         re Project 3 (0.6); review and analyze
                                         MDL-related adversary proceeding
                                         and motion for injunctive relief filed
                                         by S&C (2.6); legal research re Project
                                         3 and Document G (1.3).

07/25/24          MRS                    Reviewing and revising motion to file                                                                2.80     3,981.60
                                         response in MDL action, and
                                         conferring internally with O. Yeffet
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                                         and J. Palmerson regarding the same
                                         (0.9); call with C. Kelly and J.
                                         Palmerson re Project 3 (0.6); analysis
                                         and legal research in connection with
                                         Project 3 (1.3).

07/25/24          OG                     Communications with O. Yeffet and                                                                    0.30      193.05
                                         J. Sternberg re motion for leave to file
                                         reply and related order (.3).

07/25/24          JP                     Review and revise request for reply                                                                  2.60     3,240.90
                                         briefing re: notice of adversary
                                         proceeding and correspondence with
                                         S. Rand, M. Scheck, O. Yeffet, and
                                         S&C regarding same (1.2); review
                                         and analyze adversary proceeding
                                         with respect to MDL insider claims in
                                         connection with drafting Document F
                                         (0.8); conference call with M. Scheck
                                         and C. Kelly to discuss Project 3 (0.6).

07/26/24          OBY                    Review and revise motion for reply                                                                   2.20     2,366.10
                                         (1.0); prepare materials for MDL meet
                                         and confer with J. Sternberg (.4); call
                                         with J. Sternberg on same (.5); MDL
                                         meet and confer (.2); follow up emails
                                         on same (.1).

07/26/24          SNR                    T/c w/ S&C re: call w/ MDL counsel                                                                   1.30     2,182.05
                                         (0.4); address and response to MDL
                                         counsel communication (0.9).

07/26/24          JS5                    Continue to review and revise draft                                                                  2.20     2,979.90
                                         motion for leave to file response to
                                         court-ordered filing and proposed
                                         order thereon (.5); review materials to
                                         prepare for meet and confer with
                                         opposing counsel on same (.8); call
                                         with O. Yeffet to prepare for same
                                         (.5); attend call with opposing
                                         counsel (.2); email correspondence
                                         with opposing counsel thereafter (.2).

07/26/24          CK5                    Review and analyze MDL stay                                                                          0.30      322.65
                                         complaint and motion filed by S&C
                                         in adversary proceeding in
                                         connection with Project 3 (0.3).

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07/26/24          JP                     Review and analyze complaint and                                                                     1.10     1,371.15
                                         preliminary injunction motion
                                         against MDL plaintiffs with respect
                                         to insider actions in connection with
                                         drafting Document F (1.1).

07/26/24          OG                     Edits, finalize and file FTX Debtors                                                                 1.20      772.20
                                         motion for leave to file a response
                                         (.5); edits, finalize and file proposed
                                         order re motion for leave to file
                                         response (.2); prepare email and send
                                         proposed order to judge per local
                                         rules (.3); update database (.2).

07/27/24          MRS                    Call with J. Palmerson, S. Rand, and                                                                 0.40      568.80
                                         C. Kelly re Project 3 (0.4).

07/27/24          SNR                    Call w/ M. Scheck, J. Palmerson, and                                                                 0.90     1,510.65
                                         C. Kelly re: Project 3 (0.4); review
                                         materials re: same (0.5).

07/27/24          MRS                    Analyzing research related to Project                                                                1.40     1,990.80
                                         3 and outlining strategy in connection
                                         with same (1.4).

07/27/24          CK5                    TC with S. Rand, M. Scheck, and J.                                                                   0.40      430.20
                                         Palmerson re Project 3 (0.4).

07/27/24          JP                     Review and analyze MDL plaintiffs'                                                                   2.00     2,493.00
                                         response to motion for preliminary
                                         declaratory and injunctive relief in
                                         adversary proceeding in connection
                                         with Project 3 (0.6); conference call
                                         with S. Rand, M. Scheck, and C. Kelly
                                         re: Project 3 (0.4); draft Document F
                                         (1.0).

07/28/24          MRS                    Analyzing MDL filing and outlining                                                                   1.60     2,275.20
                                         arguments related to Project 3 (1.6).

07/28/24          CK5                    Legal research for Document G (1.3).                                                                 1.30     1,398.15

07/29/24          MRS                    Call with C. Kelly and J. Palmerson re                                                               3.40     4,834.80
                                         Project 3 (0.6); researching and
                                         outlining strategy related to Project 3,
                                         and internal correspondence with C.
                                         Kelly and J. Palmerson regarding the
                                         same (2.1); analyzing memo
                                         regarding estate property (0.7).
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07/29/24          TS4                    Correspond w. S. Rand and J.                                                                         0.20      197.10
                                         Palmerson re FTX MDL Project 3
                                         (0.2).

07/29/24          SNR                    Review and analyze materials re:                                                                     3.70     6,210.45
                                         Project 3 (3.7).

07/29/24          CK5                    Call with M. Scheck and J. Palmerson                                                                 6.60     7,098.30
                                         re Project 3 strategy (0.6); draft
                                         Document G (5.4); legal research for
                                         Document G (0.6).

07/29/24          JP                     Conference call with M. Scheck and                                                                   2.30     2,866.95
                                         C. Kelly regarding Project 3 (0.6);
                                         correspondence with T. Sharma
                                         regarding collection of complaints
                                         and comprehensive list of defendants
                                         in MDL actions to assist with Project
                                         3 (0.3); draft Document F regarding
                                         Project 3 and fact investigation in
                                         connection with same (1.4).

07/30/24          TS4                    Call with S. Rand, A. Makhijani, M.                                                                  0.40      394.20
                                         Scheck, J. Palmerson, W. Sears, and
                                         C. Kelly re MDL strategy and Project
                                         3 (0.4).

07/30/24          TS4                    Prepare chart of status of active and                                                                1.60     1,576.80
                                         dismissed defendants in federal MDL
                                         and member cases in connection with
                                         Project 3 (1.6).

07/30/24          SNR                    T/c w/ W. Sears, M. Scheck, J.                                                                       3.80     6,378.30
                                         Palmerson, C. Kelly, A. Makhijani,
                                         and T. Sharma re: Project 3 and MDL
                                         strategy (0.4); address strategy re:
                                         MDL reply and Project 3 (3.4).

07/30/24          JS5                    Draft email to A. Moskowitz                                                                          0.20      270.90
                                         regarding issue 3 of court order (.2).

07/30/24          CK5                    Call with S. Rand, M. Scheck, J.                                                                     5.80     6,237.90
                                         Palmerson, W. Sears, A. Makhijani,
                                         and T. Sharma re Project 3 and
                                         workstreams (0.4); research related to
                                         Document G (5.4).

07/30/24          AM0                    Meet with M. Scheck, W. Sears, S.                                                                    0.40      500.40
                                         Rand, J. Palmerson T. Sharma, and C.
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                                         Kelly regarding Project 3 (0.4).

07/30/24          WS1                    Call with S. Rand, A. Makhijani, M.                                                                  0.40      541.80
                                         Scheck, J. Palmerson, C. Kelly, T.
                                         Sharma re: MDL Project 3 (.4).

07/30/24          MRS                    Analyzing MDL claimants filing in                                                                    2.90     4,123.80
                                         connection with MDL adversary
                                         proceeding and research related to
                                         the same (1.6); call with S. Rand, J.
                                         Palmerson, W. Sears, A. Makhijani, T.
                                         Sharma, and C. Kelly regarding MDL
                                         action and Project 3 (0.4);
                                         correspondence with C. Kelly
                                         regarding Document G, and
                                         analyzing cases related to same (0.9).

07/30/24          JP                     Conference call with S. Rand, M.                                                                     2.20     2,742.30
                                         Scheck, W. Sears, A. Makhijani, T.
                                         Sharma, and C. Kelly regarding MDL
                                         action and Project 3 (0.4);
                                         correspondence with W. Sears and A.
                                         Makhijani regarding key materials
                                         from MDL action (0.2); draft
                                         Document F in connection with
                                         Project 3 (1.6).

07/31/24          TS4                    Prepare chart of status of active and                                                                2.30     2,266.65
                                         dismissed defendants in federal MDL
                                         and member cases in connection with
                                         Project 3 (2.3).

07/31/24          WS1                    Review briefs re: MDL and customer                                                                   0.30      406.35
                                         property issue (.3).

07/31/24          SNR                    Review materials and cases in                                                                        1.70     2,853.45
                                         connection with opposition and reply
                                         strategy in MDL and in connection
                                         with Project 3 (1.7).

07/31/24          CK5                    Call with M. Scheck re research for                                                                  8.80     9,464.40
                                         Document G (0.5); call with M.
                                         Scheck re research for Document G
                                         (0.2); research for Document G (8.1).

07/31/24          MRS                    Analyzing cases and research related                                                                 2.60     3,697.20
                                         to Project 3 (1.9); conference with C.
                                         Kelly regarding the same (0.5);
                                         second conference with C. Kelly
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                       Los Angeles | Mannheim | Miami | Munich | Neuilly La Défense | New York | Paris | Perth | Riyadh | Salt Lake City
                San Francisco | Seattle | Shanghai | Silicon Valley | Singapore | Stuttgart | Sydney | Tokyo | Washington DC | Wilmington | Zurich
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                                         regarding the same (0.2).

07/31/24          JP                     Correspondence with T. Sharma re                                                                     2.00       2,493.00
                                         project to gather comprehensive list
                                         of complaints and active parties in
                                         connection with Project 3 (0.1); draft
                                         Document F with respect to Project 3
                                         (1.9).

                                                                                  SUBTOTAL                                                113.70       154,098.45



                                                                      Fee Summary

Attorneys                             Init.             Title                                             Hours                      Rate                Amount
Sascha Rand                           SNR               Partner                                            70.20                  1,678.50             117,830.70
Katherine Lemire                      KL                Partner                                            11.50                  1,678.50              19,302.75
Anthony Alden                         APA               Partner                                            27.20                  1,561.50              42,472.80
Isaac Nesser                          IN                Partner                                             0.50                  1,521.00                 760.50
Andrew S. Corkhill                    AC                Partner                                             1.30                  1,422.00               1,848.60
Matthew R. Scheck                     MRS               Partner                                            23.80                  1,422.00              33,843.60
William Sears                         WS1               Partner                                             1.40                  1,354.50               1,896.30
Emily Kapur                           EK                Partner                                             1.80                  1,354.50               2,438.10
Jason Sternberg                       JS5               Partner                                             3.70                  1,354.50               5,011.65
Tyler Murray                          TCM               Counsel                                            24.70                  1,296.00              32,011.20
Heather K. Christenson                JK1               Counsel                                             1.20                  1,296.00               1,555.20
Andrew Kutscher                       AK2               Counsel                                             5.90                  1,296.00               7,646.40
Robert True                           RT1               Counsel                                            10.00                  1,296.00              12,960.00
Justine Young                         JY1               Associate                                          18.50                  1,251.00              23,143.50
Anil Makhijani                        AM0               Associate                                          34.30                  1,251.00              42,909.30
Jaclyn Palmerson                      JP                Associate                                          38.60                  1,246.50              48,114.90
Isaac Saidel-Goley                    ISG               Associate                                          35.50                  1,210.50              42,972.75
Miao Xu                               MX1               Associate                                           8.40                  1,120.50               9,412.20
Olivia Yeffet                         OBY               Associate                                          55.70                  1,075.50              59,905.35
Sophie Hill                           SH6               Associate                                         154.10                  1,075.50             165,734.55
Cameron Kelly                         CK5               Associate                                          28.20                  1,075.50              30,329.10
Sydney Snower                         SS7               Associate                                          16.10                    985.50              15,866.55
Tanmayi Sharma                        TS4               Associate                                           4.50                    985.50               4,434.75
Brenna Ledvora                        BL5               Associate                                          69.90                    985.50              68,886.45
James Bailey                          JB13              Associate                                           0.40                    936.00                 374.40
Ben Carroll                           BC6               Associate                                          18.60                    891.00              16,572.60
Jeffrey Boxer                         JB11              Associate                                           1.10                    891.00                 980.10
Jack Robbins                          JR9               Associate                                           1.20                    891.00               1,069.20
Elijah Turner                         ET3               Associate                                          19.60                    891.00              17,463.60
Jonathan Abrams                       JA4               Associate                                          20.70                    891.00              18,443.70
Johnston Hill                         JH8               Associate                                          41.40                    792.00              32,788.80
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                       Los Angeles | Mannheim | Miami | Munich | Neuilly La Défense | New York | Paris | Perth | Riyadh | Salt Lake City
                San Francisco | Seattle | Shanghai | Silicon Valley | Singapore | Stuttgart | Sydney | Tokyo | Washington DC | Wilmington | Zurich
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Jillian Farley                        JF3               Associate                                             0.20                  792.00               158.40
Grace Heinerikson                     GH                Associate                                             2.50                  792.00             1,980.00
Brendan Ferguson                      BF5               Associate                                             0.60                  792.00               475.20
Taylor Ross                           TR3               Law Clerk                                             2.50                  544.50             1,361.25

Case Assistants                       Init.             Title                                             Hours                      Rate              Amount
Olga Garcia                           OG                Senior Paralegal                                   1.50                     643.50              965.25



                                                                 Expense Summary

Description                                                                                                                                            Amount

Lexis Courtlink - Off Contract                                                                                                                            5.36

Outside record production                                                                                                                                 3.00

Online Research                                          (based on standard Westlaw or Lexis, without                                                     0.00
                                                         any applicable discount)

Document Reproduction                                              0.10                                                                                  22.20

Color Document Reproduction                                        0.25                                                                                  19.50

Word processing                                                                                                                                           0.00

Other                                                                                                                                                     3.20

PACER Services                                                                                                                                            0.00

Document Services                                                                                                                                       113.75

                                                                           Total Expenses                                                              $167.01




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                       Los Angeles | Mannheim | Miami | Munich | Neuilly La Défense | New York | Paris | Perth | Riyadh | Salt Lake City
                San Francisco | Seattle | Shanghai | Silicon Valley | Singapore | Stuttgart | Sydney | Tokyo | Washington DC | Wilmington | Zurich
